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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA

                          Case No. 17-22197-Civ-TORRES


  IN THE MATTER OF THE
  EXTRADITION OF RICARDO
  ALBERTO MARTINELLI BERROCAL
  ______________________________________/




              FINAL ORDER ON THE GOVERNMENT’S MOTION
              FOR A CERTIFICATE TO EXTRADITE TO PANAMA
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        One of our nation’s greatest Justices, Oliver Wendell Holmes, disfavored

  lengthy opinions. He preferred a “short little opinion” over a lengthy one “padded”

  with unnecessary discourse.1 The following lengthy analysis of the relevant facts

  and governing law would not be warmly greeted in his Chambers. But given the

  importance of the outcome to all interested parties, and this Court’s obligation to

  satisfy the requirements of 18 U.S.C. § 3184, we offer a detailed recitation of all the

  issues raised by the parties and the Court’s reasoning.

        Because Justice Holmes has penned or participated in many important

  decisions that, to this day, define the essential nature of the extradition process, our

  decision can be distilled to a few paragraphs quoting and paraphrasing those

  opinions.

        To begin,

              It is common in extradition cases to attempt to bring to bear all
              the factitious niceties of a criminal trial at common law. But it
              is a waste of time. For while, of course, a man is not to be sent
              from the country merely upon demand or surmise, yet if there
              is presented, even in somewhat untechnical form according to
              our ideas, such reasonable ground to suppose him guilty as to
              make it proper that he should be tried, good faith to the
              demanding government requires his surrender.2

        In our case,

              [O]ut of a natural anxiety to save [Pres. Martinelli] if possible
              from being sent from [Florida] to [Panama] for trial, it has been
              presented as if this were the final stage and every technical
              detail were to be proved beyond a reasonable doubt. This is not

        1      G. Edward White, Justice Oliver Wendell Holmes: Law and The Inner
  Self, 310 (1993).

        2      Glucksman v. Henkel, 221 U.S. 508, 512 (1911) (affirming extradition
  to Russia on fraud charges).


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            the law.    Form is not to be insisted upon beyond the
            requirements of safety and justice. Competent evidence to
            establish reasonable grounds is not necessarily evidence
            competent to convict.3

        And notwithstanding Pres. Martinelli’s technical but meritless objections to

  the process that led to this extradition request,

            [His main] objection is that there is no evidence that the
            defendant is guilty of the crime charged. This is rather a bold
            contention seeing that [he was President and Head of the
            National Security Council at a time that the Council was
            allegedly and unlawfully surveilling the President’s political
            opponents, and using public funds in the process for purely
            personal gain.] It is unnecessary to go into greater detail. We
            are of the opinion that probable cause to believe [Pres.
            Martinelli] guilty was shown by competent evidence. . . . 4

        As “[w]e are bound by the existence of an extradition treaty to assume that

  the trial will be fair,” that is the end of our inquiry. Or as Justice Holmes succinctly

  declared, “that is enough.”5




                                            ***




        3     Fernandez v. Phillips, 268 U.S. 311, 312 (1925) (affirming extradition
  of Mexican public official to Mexico on embezzlement charges) (citations omitted).

        4      Id. at 314.

        5      Glucksman, 221 U.S. at 512, 514.


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                                I.   BACKGROUND

        This matter is before the Court on the United States of America’s (the

  “Government”) motion [D.E. 46] for an order certifying the extradition of Ricardo

  Alberto Martinelli Berrocal (“Pres. Martinelli”) on behalf of the Republic of Panama

  (“Panama”).    Pres. Martinelli timely responded to the Government’s motion on

  August 11, 2017 [D.E. 58] to which the Government replied on August 18, 2017.

  [D.E. 62]. Therefore, the Government’s motion is now ripe for disposition. After

  careful consideration of the entire record, the evidence presented at the extradition

  hearings, along with the benefit of oral argument, and the papers applicable

  thereto, the Government’s motion is GRANTED and the Court finds that Pres.

  Martinelli is extraditable for all four alleged offenses pursuant to the Treaty

  Between the United States of America and Panama Providing for the Extradition of

  Criminals, U.S.-Pan., May 25, 1904, 34 Stat. 2851 (the “Treaty”); the U.N.

  Convention Against Corruption, Dec. 9, 2003, S. Treaty Doc. No. 109-6, 2349

  U.N.T.S. 41 (the “UNCAC”); and the Convention on Cybercrime, Jan. 7, 2004,

  Council of Eur., T.I.A.S. No. 13174, C.E.T.S. No. 185 (the “Budapest Convention”).

        A.      Panama’s Request for Extradition

        This case involves an extradition request by Panama, approved by the United

  States Department of State, for the arrest and extradition of Pres. Martinelli – the

  former President of Panama.        The Supreme Court of Panama has requested

  extradition on the grounds of alleged violations of Panamanian law that occurred

  while Pres. Martinelli was in office. Pres. Martinelli left Panama and traveled to

  the United States where he filed an application for asylum in 2015. While that


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  application remains pending, the Department of State and the United States

  Attorneys’ Office here in Miami have now filed this action to authorize his

  extradition to Panama pursuant to multiple treaties between the United States and

  Panama.

          Specifically, Pres. Martinelli’s extradition is sought by Panama for trial on

  four charges: (1) interception of telecommunications without judicial authorization,

  in violation of Article 167 of the Criminal Code of Panama; (2) tracking, persecution,

  surveillance without judicial authorization, in violation of Article 168 of the same

  code; (3) embezzlement by theft and misappropriation, in violation of Article 338 of

  the same code; and (4) embezzlement of use, in violation of Article 341 of the same

  code. Harry Díaz (“Díaz”), a Justice of the Criminal Chamber of the Supreme Court

  of Justice of the Republic of Panama, issued an indictment against Pres. Martinelli

  for these offenses on October 9, 2015. After Pres. Martinelli failed to appear in court

  when summoned for a hearing on the charges, on December 21, 2015, the Supreme

  Court issued an order for Pres. Martinelli’s arrest.          Panama subsequently

  submitted a request to the United States for Pres. Martinelli’s extradition.

           Pursuant to Panama’s extradition request, Pres. Martinelli was arrested in

   on June 12, 2017, in Coral Gables, Florida. He then filed an emergency motion to

   dismiss [D.E. 12], alleging that Panama had failed to comply with the

   requirement in the Treaty that it provide a warrant in support of its extradition

   request; he also filed multiple motions for release on bond. [D.E. 18, 24, 26, 34,

   36].   The Government responded to these motions and filed a separate motion




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   seeking Pres. Martinelli’s detention. [DE 13, 15, 22, 32]. After holding a hearing

   on June 20, 2017, we denied Pres. Martinelli’s motions and granted the

   Government’s request for detention in an opinion issued on July 7, 2017. [D.E.

   38].     The immediate motion pending before the Court arises from the

   Government’s motion for extradition. [D.E. 46].

          B.    The Charges Against Pres. Martinelli

          Justice Mejía Edward listed the charges that El Magistrado Fiscal intends to

  prove against Pres. Martinelli. [D.E. 13-1 at 15-25, ¶27]. According to the charges,

  Pres. Martinelli:

          established an organized apparatus of power acting beyond the Social
          and Democratic State of Law, and through this apparatus of power
          instructions were given to officers of The National Security Council,
          who were fully aware of the illegality of these activities and without a
          judicial authorization undertook interceptions of electronic
          communications in various forms, surveillance and tracking of people,
          which they called targets, who belong to difference political, economic,
          civic groups and unions of the country, extending this systematic
          violation of human rights, in some cases, to family and friends of
          individuals subject to interceptions, surveillance and tracking; and
          that in order to achieve these activities outside the Constitution and
          the Law, the organization of State power led by Ricardo Alberto
          Martinelli Berrocal supplied the equipment, resources, and personnel
          necessary to achieve the aforesaid illicit activities, using State funds.

  Id. at 15-16, ¶27(b). These alleged crimes occurred between 2012 and mid-May

  2014, during the time that Pres. Martinelli was in office. Id. at 16, ¶27(c).

  According to the Government, “[a]n audit conducted by the Comptroller General

  concluded that the loss to the state sustained as a result of the purchase and

  disappearance of the surveillance equipment amounted to US $ 10,861,857.48.”

  [D.E. 15 at 6].



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        The first alleged crime for which Panama requests Pres. Martinelli’s

  extradition is the:

        Crime against the inviolability of secret and the right to privacy
        (Interception of private telecommunications without judicial
        authority), provided under Article 167, Title II, Chapter II of the
        Second Book of The Panamanian Criminal Code, reading as follows:

        Article 167. Whoever, without the authorization of the judicial
        authority, intercepts telecommunications or uses technical devices for
        listening, transmission, recording, or reproducing conversations that
        are not for the public shall be punished from two to four years in
        prison.

  [D.E. 13-1 at 26-27, ¶31(a)] (internal quotation marks omitted).

        The second alleged crime for which Panama requests Pres. Martinelli’s

  extradition is the:

        Crime against the inviolability of secret and the right to privacy
        (Tracking, Persecution and Surveillance without judicial authority),
        provided under Article 168, Title II, Chapter III of the Second Book of
        The Panamanian Criminal Code, reading as follows:

        Article 168. Whoever, without proper authorization, practices tracking,
        persecution, or surveillance against a person, for illicit purposes, shall
        be punished from two to four years in prison. The same punishment is
        imposed on anyone who sponsors or promotes these facts.

  Id. at 27, ¶31(b) (internal quotation marks omitted).

        The third alleged crime for which Panama requests Pres. Martinelli’s

  extradition is the:

        Crime against the public administration, Different Kinds of
        Embezzlement (embezzlement by theft or misappropriation), provided
        under Article 338, Title X, Chapter I of the Second Book of The
        Panamanian Criminal Code, reading as follows:

        Article 338. A public officer who takes or embezzles in any way, or
        consents that somebody else appropriates, takes or embezzles any



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        form of money, securities or property which administration, collection
        or custody have been entrusted by virtue of his position, shall be
        punished from four to ten years in prison.

        If the amount of the appropriated exceeds the sum of one hundred
        thousand dollars (US$100,000.00) or the money, securities or
        appropriate goods were intended for welfare purposes or for
        development programs or social support, the punishment shall be from
        eight to fifteen years in prison.

  Id. at 27, ¶ 31(c) (internal quotation marks omitted).

        The fourth and final alleged crime for which Panama requests Pres. Pres.

  Martinelli’s extradition is the:

        Crime against the public administration, different kinds of
        embezzlement (embezzlement of use), provided under Article 341, Title
        X, Chapter I of the Second Book of the Panamanian Criminal Code,
        reading as follows:

        Article 341. A public officer who, for purposes other than service, uses
        in his own or another’s benefit, or allows somebody else to use money,
        securities or property under his charge by reasons of his duties or
        which are in his custody, shall be punished from one to three years in
        prison, or its equivalent in daily fines or weekend arrest.

        The same punishment shall be applied to the public officer that uses
        official works or services for his benefit or allows someone else to do it.

  Id. at 27-28, ¶ 31(d) (internal quotation marks omitted).

        C.     The Relevant Treaties

        Panama formalized its extradition request “pursuant to the Extradition

  Treaty between the United States of America and the Republic of Panama, signed

  on May 25, 1904, which entered into force for the United States of America on May

  8, 1905, and for the Republic of Panama on April 8, 1905 . . . .” Id. at 3, ¶ 1. The

  Treaty provides:




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         The Government of the United States and the Government of the
         Republic of Panamá mutually agree to deliver up persons who, having
         been charged with or convicted of any of the crimes and offenses
         specified in the following article, committed within the jurisdiction of
         one of the contracting parties, shall seek an asylum or be found within
         the territories of the other: Provided, that this shall only be done upon
         such evidence of Criminality as, according to the laws of the place
         where the fugitive or person so charged shall be found, would justify
         his or her apprehension and commitment for trial if the crime or
         offense had been there committed.

   [D.E. 12-1 at 3].

         Relevant to this case, the Treaty also provides that the signatories shall

   grant extradition for “[e]mbezzlement by public officers; embezzlement by persons

   hired or salaried, to the detriment of their employers; where in either class of cases

   the embezzlement exceeds the sum of two hundred dollars; larceny.” Treaty at Art.

   II; [D.E. 12-1 at 4]. Further, the Treaty states that “if the fugitive is merely charged

   with a crime, a duly authenticated copy of the warrant of arrest in the country

   where the crime has been committed, and of the depositions or other evidence upon

   which such warrant was issued, shall be produced.” Treaty at Art. III; [D.E. 12-1 at

   5].

         The final relevant article from this Treaty states:

         A fugitive criminal shall not be surrendered if the offense in respect of
         which his surrender is demanded be of a political character, or if he
         proves that the requisition for his surrender has, in fact, been made
         with a view to try or punish him for an offense of a political character.
         No person surrendered by either of the high contracting parties to the
         other shall be triable or tried, or be punished, for any political crime or
         offense, or for any act connected therewith, committed previously to his
         extradition. If any question shall arise as to whether a case comes
         within the provisions of this article, the decision of the authorities of
         the government on which the demand for surrender is made, or which
         may have granted the extradition, shall be final.



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   Treaty at Art. VI; [D.E. 12-1 at 5].

          In addition to the 1904 Treaty, the Government relies on two more recent

   treaties in its Complaint: the Budapest Convention and the UNCAC. [D.E. 1 at 1].

   According to the Budapest Convention, a multilateral treaty to which the United

   States and Panama are both parties:

          Each Party shall adopt such legislative and other measures as may be
          necessary to establish as criminal offences under its domestic law,
          when committed intentionally, the interception without right, made by
          technical means, of non-public transmissions of computer data to, from
          or within a computer system, including electromagnetic emissions from
          a computer system carrying such computer data. A Party may require
          that the offence be committed with dishonest intent, or in relation to a
          computer system that is connected to another computer system.

   Convention on Cybercrime Art. 3, Nov. 23, 2001, T.I.A.S. No. 13174. The treaty

   expressly includes an article on extradition, quite relevant here, which provides:

          This article applies to extradition between Parties for the criminal
          offences established in accordance with Articles 2 through 11 of this
          Convention, provided that they are punishable under the laws of both
          Parties concerned by deprivation of liberty for a maximum period of at
          least one year, or by a more severe penalty. [24(1)(a)]

          The criminal offences described in paragraph 1 of this article shall be
          deemed to be included as extraditable offences in any extradition
          treaty existing between or among the Parties. The Parties undertake
          to include such offences as extraditable offences in any extradition
          treaty to be concluded between or among them. [24(2)]

   Id. at Art. 24(1)(a), 24(2).

          The third and final treaty relied upon by the government is the UNCAC,

   another multilateral treaty to which the United States and Panama are both

   parties, that provides:




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         Embezzlement, misappropriation or other diversion of property by a
         public official

         Each State Party shall adopt such legislative and other measures as
         may be necessary to establish as criminal offences, when committed
         intentionally, the embezzlement, misappropriation or other diversion
         by a public official for his or her benefit or for the benefit of another
         person or entity, of any property, public or private funds or securities
         or any other thing of value entrusted to the public official by virtue of
         his or her position.

   UNCAC Art. 17, Oct. 23, 2003, S. Treaty Doc. No. 109-6. The treaty also includes

   an express provision relating to extradition, which provides:

         This article shall apply to the offences established in accordance with
         this Convention where the person who is the subject of the request for
         extradition is present in the territory of the requested State Party,
         provided that the offence for which extradition is sought is punishable
         under the domestic law of both the requesting State Party and the
         requested State Party. [1]

         Notwithstanding the provisions of paragraph 1 of this article, a State
         Party whose law so permits may grant the extradition of a person for
         any of the offences covered by this Convention that are not punishable
         under its own domestic law. [2]

         Each of the offences to which this article applies shall be deemed to be
         included as an extraditable offence in any extradition treaty existing
         between States Parties. States Parties undertake to include such
         offences as extraditable offences in every extradition treaty to be
         concluded between them. A State Party whose law so permits, in case
         it uses this Convention as the basis for extradition, shall not consider
         any of the offences established in accordance with this Convention to
         be a political offence. [4]

   Id. at Art. 44(1), 44(2), 44(4), Oct. 23, 2003, S. Treaty Doc. No. 109-6.

         D.     Disputes Regarding Allegations and Underlying Law

         Pres. Martinelli has disputed both the allegations surrounding his potential

   extradition as well as the law on which the extradition is based. [D.E. 18-2 at 13,




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   120-23; D.E. 12 at 1-3; D.E. 18 at 1-2, 7-21]. Regarding Pres. Martinelli’s potential

   immunity for the alleged crimes, he relies on the Panamanian Constitution:

         Article 191. The President and the Vice-President of the Republic are
         responsible only in the following cases:

         1. For exceeding their constitutional powers;
         2. For acts of violence or coercion during the electoral process; for
         impeding the meeting of the National Assembly, for blocking the
         exercise of its functions or of the functions of the other public
         organizations or authorities that are established by this Constitution;
         3. For offenses against the international personality of the State or
         against the public administration.

         In the first and second case, the penalty shall be removal from office,
         and disqualification to hold public office for a period fixed by law. In
         the third case ordinary law shall apply.

   [D.E. 18-2 at 13]. Based on this article, Pres. Martinelli argues that he “generally

   has immunity for crimes committed during his presidency.” [D.E. 18 at 9]. He also

   claims that this article “clearly applies to the ‘wiretapping’ crimes charged here (i.e.,

   interception of telecommunications/surveillance without authorization).” Id. He

   states that “as a member of the Central American Parliament, [he] has ‘Parlecen’

   immunity that precludes him from being charged for any crime.” Id.

         As for the allegations themselves, Pres. Martinelli has denied them in their

   entirety. [D.E. 18 at 6]. According to Pres. Martinelli, the affidavit executed by a

   former official with the Panamanian National Security Council during Pres.

   Martinelli’s tenure, Ismael Pitti (“Pitti”) (which constitutes the primary sworn

   testimony relied upon by the Government) is a sham:

         [It] was executed on the basis of “information and belief” and reeks of
         rank hearsay, as Pitti does not identify a single personal interaction
         with [Mr.] Martinelli [Berrocal]. The Panamanian government has



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         bought and paid [Mr. Pitti] as a witness, providing him with a well-
         paid job in Washington, D.C., despite his alleged participation in the
         alleged offenses.

   Id.

         Pres. Martinelli points instead to a competing affidavit executed by Ronny

   Rodriguez Mendoza, a former aide to Pres. Martinelli.        See id. at 6, 9.    Mr.

   Rodriguez Mendoza’s affidavit avers that National Police Directorate Commissioner

   Rolando Lopez:

         [O]ffered to take [him] directly to the Office of the President of the
         Republic, to Mr. JUAN CARLOS VARELA, who was willing to offer
         [him] ‘WHATEVER [HE] WANTED’ if [he] would incriminate former
         President RICARDO MARTINELLI, and that [the National Police
         Directorate], in January 2015, had seized the Office of the Procurator
         General of the Nation, and that [he] could testify as a ‘protected
         witness’. [He] maintained that [he] would no [sic] do so. A few days
         later, ROLANDO LOPEZ PEREZ called [him] again, but this time in
         order to threaten and intimidate [him]. The conversation ended with
         these words: ‘we’re going to cancel your retirement, we’re going to open
         3 criminal dockets against you, we’re going to remove you from the
         National Police, we’re going to throw you in jail, and you won’t last a
         week at La Joya’.

   [D.E. 18-2 at 121].

         Pres. Martinelli also addressed the enforceability of the arrest warrant issued

   against him. [D.E. 28 at 1]. “[T]he arrest warrant issued for President Martinelli is

   unprecedented in Panama and null and void because the issuing court lacked

   jurisdiction over him.” Id. To support this statement, Pres. Martinelli provides an

   affidavit from his expert, Roberto J. Moreno.      [D.E. 28-2].   Mr. Moreno is a

   Panamanian lawyer and in 2009 he “obtained a Masters in Law (LL.M.) with a

   specialization in International Human Rights, in the United States of America in




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   the prestigious American University Washington College of Law, Washington D.C.,

   thanks to a Fulbright Scholarship from the State Departament [sic] of the United

   States of America . . . .” [D.E. 24-2 at 1]. Mr. Moreno concluded:

         [T]hat based on the norms and the precedents that: (1) Due the
         absence of indictment of [Mr.] Martinelli Berrocal, the Order of
         Detention against him is nullified; (2) That in order to acquire
         jurisdiction and the power to apply personal precautionary measures
         against [Mr.] Martinelli [Berrocal], his previous personal indictment is
         indispensable; (3) That in order to be able to order a detention due to
         contempt, a previous indictment hearing is required, which has not
         occurred in the case of [Mr.] Martinelli Berrocal, violating due process
         and the fundamental guarantees of Mr. Martinelli [Berrocal].

   [D.E. 28-2].

         Pres. Martinelli has also tackled the specific charges to undermine the

   strength of the case against him.      He argues that the weak and impeachable

   evidence presented bars his extradition. For instance, Pres. Martinelli has

   highlighted numerous contradictions or inconsistencies between Díaz’s extradition

   affidavit and the supporting documentation that Díaz relied upon. It turns out that

   the surveillance system that his affidavit cited as evidence of Pres. Martinelli’s

   embezzlement of Panamanian funds was not the surveillance system that Pitti

   described in his affidavit. [D.E. 36 at 11-12].   As such, Pres. Martinelli concludes

   that there is a material disconnect between the charge of embezzlement of funds

   and the sworn evidence provided to sustain that charge.         And that disconnect

   purportedly undermines the case for extradition under all of the applicable treaties.




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         To determine whether the Government has complied with all of the statutory

   requirements of 18 U.S.C. § 3184 to justify a certificate of extradition to the

   Secretary of State, we turn our attention to the arguments presented.

                                   II.   ANALYSIS

         Pres. Martinelli raises four primary arguments in opposition to the

   Government’s motion for extradition. First, when requesting extradition on the

   surveillance offenses, Pres. Martinelli contends that Panama has ignored the plain

   language of the Treaty’s non-retroactivity provision. Pres. Martinelli suggests that

   the Government lacks any authority for the position that the Treaty operates

   retroactively with respect to the crimes charged and, on this basis, the surveillance

   crimes should be outright dismissed as a violation of the Treaty’s plain language.

         Second, Pres. Martinelli argues that the Government has not produced a

   valid arrest warrant as required under the Treaty for two reasons: (1) the court

   that issued the arrest warrant lacked jurisdiction because it flouted a mandatory

   phase called imputación, and (2) the arrest warrant fails to refer to at least one

   extraditable offense. While Díaz declares that imputación was unnecessary in this

   case and that the arrest warrant is valid, Pres. Martinelli maintains (citing his

   expert’s affidavits) that Panamanian law conclusively provides otherwise and that

   these procedural failures are fatal to the Government’s attempt to extradite him.

         Third, Pres. Martinelli suggests that Panama and the Department of Justice

   (the “DOJ”) have violated his due process rights, on several occasions, by presenting

   material lies by Díaz under oath to this Court. Díaz allegedly continues to swear, in




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   the face of insurmountable evidence to the contrary, that the publicly purchased

   MLM equipment was both capable of and used for infiltrating and extracting

   content from cellular phones. Pres. Martinelli believes that Díaz ’s repeated lies are

   not harmless embellishments, as they are purportedly critical to Panama

   establishing probable cause on the embezzlement crimes, and constitute brazen

   misconduct that prohibits extradition.

         Fourth, Pres. Martinelli argues that the Government has failed to establish

   probable cause for both the surveillance and embezzlement offenses.            On the

   surveillance charges, Pres. Martinelli suggests that the Government’s case rises and

   falls on the affidavit of Pitti – an affidavit that Martinelli suggests is inherently

   unreliable and therefore must be discredited. On the embezzlement charges, Pres.

   Martinelli believes that the Government cannot establish probable cause that he

   embezzled either the MLM equipment or the Pegasus equipment.               The MLM

   equipment – last seen in 2011 – is purportedly irrelevant to this case because there

   is zero evidence of its use in connection with the alleged surveillance at issue in his

   case. And, at least, there is supposedly no evidence that it has been used during the

   relevant time period of 2012 and 2014.

         As for the Pegasus equipment, Pres. Martinelli argues that the Government

   cannot establish probable cause because there is no evidence that the Pegasus

   equipment was in his custody as required under Panamanian law, nor is there

   evidence that it was acquired with public funds contrary to Díaz’s defective

   indictment and false affidavits. Pres. Martinelli concludes, instead, that the alleged




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   crimes against him are politically driven and that there are a plethora of reasons as

   to why a certification for his extradition should not be issued to the Secretary of

   State.

            A.    General Principles of Extradition

            “An extradition treaty creates in a foreign government the right to demand

   and obtain extradition of an accused criminal . . . [a]bsent a treaty, the federal

   government lacks the authority to turn the accused over to the foreign government.”

   United States v. Fernandez–Morris, 99 F. Supp. 2d 1358, 1360 (S.D. Fla. 1999)

   (citation omitted). When there is a treaty of extradition between the United States

   and any foreign government, international extradition requests are governed by 18

   U.S.C. §§ 3184, et seq. The statute provides in relevant part:

            Whenever there is a treaty or convention for extradition between the
            United States and any foreign government, . . . any magistrate judge
            authorized so to do by a court of the United States, . . . may, upon
            complaint made under oath, charging any person found within his
            jurisdiction, with having committed within the jurisdiction of any such
            foreign government any of the crimes provided for by such treaty or
            convention, ... issue his warrant for the apprehension of the person so
            charged, that he may be brought before such . . . magistrate judge, to
            the end that the evidence of criminality may be heard and considered .
            . . If, on such hearing, he deems the evidence sufficient to sustain the
            charge under the provisions of the proper treaty or convention, or
            under section 3181(b), he shall certify the same, together with a copy of
            all the testimony taken before him, to the Secretary of State, that a
            warrant may issue upon the requisition of the proper authorities of
            such foreign government, for the surrender of such person, according to
            the stipulations of the treaty or convention; and he shall issue his
            warrant for the commitment of the person so charged to the proper jail,
            there to remain until such surrender shall be made.

   18 U.S.C. § 3184.




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         The extradition process “is a function of the Executive,” allowing the courts to

   conduct only limited inquiry.6 Kastnerova v. United States, 365 F.3d 980, 984 n.5

   (11th Cir. 2004) (citation omitted). And although our inquiry is a limited one, it is

   critical to the extradition process because “[t]he executive may not foreclose the

   courts from exercising their responsibility to protect the integrity of the judicial

   process.” Ahmad v. Wigen, 726 F. Supp. 389, 412 (E.D.N.Y. 1989) (“A court must

   ensure that it is not used for purposes which do not comport with our Constitution

   or principles of fundamental fairness.”), aff’d, 910 F.2d 1063 (2d Cir. 1990). In

   fulfilling this obligation, the court “conducts a hearing simply to determine whether

   there is evidence sufficient to sustain the charge against the defendant under the

   provisions of the proper treaty or convention.” Kastnerova, 365 F.3d at 984 n.5

   (citation and internal quotation marks omitted). In other words, “[a]n extradition

   hearing is not a trial on the merits and does not require proof sufficient to satisfy

   the factfinder in a criminal trial.” Cheng Na–Yuet v. Hueston, 734 F. Supp. 988, 995

   (S.D. Fla. 1990).

         An extradition hearing is therefore akin to a preliminary hearing, where the

   primary purpose is to decide if there is sufficient evidence of the charge under the

   applicable treaty – not guilt or innocence. See Neely v. Henkel, 180 U.S. 109, 123



         6       Neither the Federal Rules of Criminal Procedure, nor the Federal
   Rules of Evidence, apply to international extradition proceedings. See FED. R. CRIM.
   P. 1(a)(5)(A); FED. R. EVID. 1101(d)(3); Afanesjev v. Hurlburt, 418 F.3d 1159, 1164–
   65 (11th Cir. 2005); Bovio v. United States, 989 F.2d 255, 259 n.3 (7th Cir. 1993);
   Melia v. United States, 667 F.2d 300, 302 (2d Cir. 1981). Thus, for instance,
   hearsay and excludable evidence is admissible. See United States v. Peterka, 307 F.
   Supp. 2d 1344, 1349 (M.D. Fla. 2003).


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   (1901); see, e.g., Afanasjev, 418 F.3d at 1164 (finding that courts do “not inquire into

   the guilt or innocence of the accused.”) (quoting Kastnerova, 365 F.3d at 987); In re

   Extradition of Mohammad Safdar Gohir, 2014 WL 2123402, at *6 (D. Nev. 2014)

   (“Foreign extraditions are sui generis in nature, neither civil nor criminal in nature

   and set forth their own law.”).      And in determining whether there is sufficient

   evidence to sustain the charge, section 3184 requires only a finding of probable

   cause.     See Hoxha v. Levi, 465 F.3d 554, 560 (3d Cir. 2006) (interpreting the

   “sufficient” evidence standard set forth in section 3184 as requiring probable cause);

   Sayne v. Shipley, 418 F.2d 679, 685 (5th Cir. 1969) (during a section 3184

   extradition hearing the magistrate judge determines the sufficiency of evidence

   establishing reasonable ground for the accused’s guilt).

            A certification of extradition is generally based entirely on the authenticated

   documentary evidence provided by the requesting government. See, e.g., Castro

   Bobadilla v. Reno, 826 F. Supp. 1428, 1433–1434 (S.D. Fla. 1993) (documents and

   statements sufficient for extradition to Honduras), aff’d, 28 F.3d 116 (11th Cir.

   1994). In fact, “[i]t is exceedingly rare for the Government to submit anything other

   than documents in support of an extradition request.” In re Extradition of Nunez–

   Garrido, 829 F. Supp. 2d 1277, 1287 (S.D. Fla. 2011). As such, “one of the principal

   objectives of the extradition statute is ‘to obviate the necessity of confronting the

   accused with the witnesses against him’ by enabling the requesting country to meet

   its burden of proof through documents subject only to requirements necessary to




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   guarantee their authenticity.” Id. (quoting Bingham v. Bradley, 241 U.S. 511, 517

   (1916)).

         While an extraditee is allowed to present evidence to clarify or explain the

   explanatory evidence, contradictory evidence against the requesting country’s case

   is inadmissible.   See Cheng Na–Yuet, 734 F. Supp. at 995.          “Because of the

   circumscribed nature of an extradition proceeding, the importance of international

   obligations and the inherent practical difficulties in international proceedings, a

   defendant’s right to challenge evidence against him at an extradition hearing is

   limited.” In re Extradition of Nunez-Garrido, 829 F. Supp. 2d at 1281. “Generally,

   evidence that explains away or completely obliterates probable cause is the only

   evidence admissible at an extradition hearing, whereas evidence that merely

   controverts the existence of probable cause, or raises a defense, is not admissible.”

   Barapind v. Enomoto, 400 F.3d 744, 749 (9th Cir. 2005) (quoting with emphasis

   added Mainero v. Gregg, 164 F.3d 1199, 1207 n.7 (9th Cir. 1999)); see also Ordinola

   v. Hackman, 478 F.3d 588, 608–09 (4th Cir. 2007); Hoxha v. Levi, 465 F.3d 554, 561

   (3d Cir. 2006).

         In other words, “[t]estimony that merely gives the opposite version of the

   facts does not destroy the probably of guilt” and is therefore inadmissible. See

   Fernandez–Morris, 99 F. Supp. 2d at 1360 (citation omitted). As such, affirmative

   defenses to the merits of the charges are not to be considered at extradition

   hearings. See Charlton v. Kelly, 229 U.S. 447, 462 (1913); Collins v. Loisel, 259 U.S.

   309, 316–17 (1922); Hooker v. Klein, 573 F.2d 1360, 1368 (9th Cir. 1978); DeSilva v.




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   DiLeonardi, 125 F.3d 1110, 1112 (7th Cir. 1997). And an extraditee is also not

   permitted to introduce evidence that seeks to impeach the credibility of the

   demanding country’s witnesses. See Bovio v. United States, 989 F.2d 255, 259 (7th

   Cir. 1993).

         Once the evidence is determined to be sufficient, a court “makes a finding of

   extraditability and certifies the case to the Secretary of State.” Martin v. Warden,

   Atlanta Pen, 993 F.2d 824, 828 (11th Cir. 1993). Thereafter, the Secretary of State

   makes the final decision to determine whether to surrender the accused. See 18

   U.S.C. § 3186; Martin, 993 F.2d at 829 (“The Secretary exercises broad discretion

   and may properly consider myriad factors affecting both the individual defendant as

   well as foreign relations which an extradition magistrate may not. The Secretary of

   State’s decision is not generally reviewable by the courts.”) (citation omitted). As

   explained by the Eleventh Circuit:

         Extradition ultimately remains an Executive function. After the courts
         have completed their limited inquiry, the Secretary of State conducts
         an independent review of the case to determine whether to issue a
         warrant of surrender. The Secretary exercises broad discretion and
         may properly consider myriad factors affecting both the individual
         defendant as well as foreign relations which an extradition magistrate
         may not.

   Martin, 993 F.2d at 829.

         To make a finding of extraditability, courts generally consider four factors: (1)

   whether the judicial officer has authority to conduct extradition proceedings and the

   court has jurisdiction over the extraditee; (2) whether a valid extradition treaty

   exists; (3) whether the crime with which the accused is charged is extraditable




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   under the extradition treaty; and (4) whether there is probable cause to believe that

   the accused is guilty of the charge pending against him in the requesting state. See

   Martin, 993 F.2d at 828; United States v. Peterka, 307 F. Supp. 2d 1344, 1349 (M.D.

   Fla. 2003). In making this determination, courts do not weigh conflicting evidence,

   “but rather, determine[] only whether there is competent evidence to support the

   belief that the accused has committed the charged offense.” Quinn v. Robinson, 783

   F.2d 776, 787 (9th Cir. 1986).

         If an extradition treaty requires that the doctrine of dual criminality be

   satisfied – meaning that the conduct charged is a crime under the law of the

   respective states (i.e. Panama and the United States in this case) – courts must also

   consider if this requirement is met. See Gallo–Chamorro v. United States, 233 F.3d

   1298, 1306 (11th Cir. 2000); see also United States v. Cardoso, 2005 WL 1228826, at

   *3 (M.D. Fla. May 10, 2005) (“Acts are considered criminal in the United States if

   they would be unlawful under federal statutes, the law of the state where the

   accused is found, or by a preponderance of the states.”) (citing Wright v. Henkel, 190

   U.S. 40, 61 (1903)). In light of these principles, we turn to the four enumerated

   factors to determine if certification for the extradition of Pres. Martinelli should be

   issued.

         B.     The Authority to Conduct Extradition Proceedings

         There is no dispute between the parties that the Court has jurisdiction over

   Pres. Martinelli to conduct his extradition proceedings.      Section 3184 explicitly

   authorizes any magistrate judge authorized by a court of the United States to

   conduct extradition proceedings.     See id. (“[A]ny justice or judge of the United


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   States, or any magistrate judge authorized so to do by a court of the United States,

   or any judge of a court of record of general jurisdiction of any States.”). And Local

   Magistrate Rule 1(a)(3) also empowers United States Magistrate Judges of this

   District to conduct extradition proceedings.    Furthermore, Pres. Martinelli was

   arrested in Coral Gables, Florida, which confers jurisdiction upon this Court. See

   18 U.S.C. § 3184 (stating that a judge “may, upon complaint made under oath,

   charging any person found within his jurisdiction . . . issue [its] warrant for the

   apprehension of the person so charged.”). Therefore, the first factor has been met

   because the Court has jurisdiction over Pres. Martinelli and possesses the authority

   to conduct his extradition proceedings. See 18 U.S.C. § 3184.

          C.     Valid Extradition Treaties Exist

          Section 3184 provides for extraditions in instances in which a treaty or

   convention is in force between the requesting state and the United States. Here,

   Susan Benda, Assistant Legal Adviser for Law Enforcement and Intelligence in the

   Office of the Legal Adviser for the Department of State, has attested by declaration

   that the Treaty is in full force and effect between Panama and the United States.

   [D.E. 8]. She also averred that the Treaty is supplemented by the UNCAC and the

   Budapest Convention, to which both Panama and the United States are parties.

   See id. (“Each of the offenses to which this article applies shall be deemed to be

   included as an extraditable offense in any extradition treat existing between States

   Parties.”).

          Because every Circuit Court, including our own, has deferred to the executive

   branch on this factor, we find based on the unrebutted evidence, and the lack of


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   opposition from the Government or Pres. Martinelli, that the Treaty between

   Panama and the United States remains in full force and effect. See Kastnerova, 365

   F.3d at 986 (“[E]very other Court of Appeals to consider whether a treaty has lapsed

   has deferred to the Executive’s determination.”) (citing United States ex rel. Saroop

   v. Garcia, 109 F.3d 165, 171 (3d Cir. 1997); Then v. Melendez, 92 F.3d 851, 854 (9th

   Cir. 1996); New York Chinese TV Programs, Inc. v. U.E. Enters., Inc., 954 F.2d 847,

   852 (2d Cir. 1992); Sabatier v. Dabrowski, 586 F.2d 866, 868 (1st Cir. 1978)); see

   also Sumitomo Shoji Am., Inc. v. Avagliano, 457 U.S. 176, 184–85 (1982) (“Although

   not conclusive, the meaning attributed to treaty provisions by the Government

   agencies charged with their negotiation and enforcement is entitled to great

   weight.”); United States v. Duarte-Acero, 296 F.3d 1277, 1282 (11th Cir. 2002)

   (“[T]he State Department’s interpretation of a treaty is entitled to great deference.”)

   (citations omitted). Therefore, we find that the second extradition factor has been

   met and that all of the applicable treaties between Panama and the United States

   are in effect.

          D.        The Alleged Crimes Are Extraditable Under the Treaties

          The third factor is an inquiry that depends on the language of the particular

   treaty at issue. Extradition treaties “either list the offenses for which extradition

   shall be granted or designate a formula by which to determine extraditable

   offenses.” United States v. Herbage, 850 F.2d 1463, 1465 (11th Cir. 1988) (internal

   quotation marks and citation omitted). Because the 1904 Treaty enumerates the

   offenses for which extradition may be sought, we must determine whether the

   alleged crimes in this case are included.


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         Article I of the 1904 Treaty provides for the return of fugitives charged with,

   or convicted of, an extraditable offense. Offenses are extraditable if (1) they are

   encompassed by the list set forth in Article II of the Treaty, or (2) they are

   encompassed by the lists of offenses set forth in the UNCAC and the Budapest

   Convention, and meet the requirement of dual criminality. [D.E. 15 at 9-11]. The

   dual criminality requirement is met where the description of criminal conduct

   provided by Panama in support of its charges would be criminal under U.S. federal

   law. See, e.g., Gallo-Chamorro, 233 F.3d at 1306 (“Dual criminality mandates that

   a prisoner be extradited only for conduct that constitutes a serious offense in both

   the requesting and surrendering country.”). The corresponding offenses need not be

   mirror images of each other because “the law does not require that the name by

   which the crime is described in the two countries shall be the same; nor that the

   scope of liability shall be coextensive, or, in other respects the same in the two

   countries.”   Collins, 259 U.S. at 312.       Dual criminality only requires that the

   “particular act charged is criminal in both jurisdictions,” id., and that “[t]he

   essential character of the transaction is the same . . . .” Wright, 190 U.S. at 58; see

   also In re Extradition of Russell, 789 F.2d 801, 803 (9th Cir. 1986) (“[E]ach element

   of the offense purportedly committed in a foreign country need not be identical to

   the elements of a similar offense in the United States. It is enough that the conduct

   involved is criminal in both countries.”).

         Here, the Government argues that all four of the charges pending against

   Pres. Martinelli are extraditable and that this comports with the view of the State




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   Department and Panama.         [D.E. 8 (“The offenses of embezzlement for which

   extradition is sought are covered under Article II of the Treaty,” and “are among the

   offenses . . . specified [in the UNCAC] . . . The offenses of interception of private

   telecommunications without judicial authority and tracking, persecution and

   surveillance without judicial authority for which extradition is sought are among

   the offenses . . . specified [in the Budapest Convention].   Therefore, all crimes for

   which extradition is sought are incorporated as extraditable offenses under the

   Treaty.”)].

          Moreover, even if ambiguity existed as to whether the Panamanian offenses

   were covered under the Treaty, the Government maintains that we should find that

   all of the offenses are extraditable because in interpreting the Treaty, “a narrow

   and restricted construction is to be avoided,” and “if a treaty fairly admits of two

   constructions, one restricting the rights which may be claimed under it, and the

   other enlarging it, the more liberal construction is to be preferred.”      Factor v.

   Laubenheimer, 290 U.S. 276, 294 (1933) (citations omitted); see, e.g., Martinez v.

   United States, 828 F.3d 451, 463 (6th Cir. 2016) (“[E]ven if there were ambiguity

   about the point, that would not change things. For ambiguity in an extradition

   treaty must be construed in favor of the ‘rights’ the ‘parties’ may claim under it.”)

   (citing Factor, 290 U.S. at 294).

                             1. The Embezzlement Charges

          First, the Government contends that the two embezzlement charges are

   extraditable because they are expressly provided for under Article II of the Treaty,




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   which enumerates “embezzlement by public officers” in excess of $200. See Treaty

   at Art. II. Specifically, Article 338 of the Criminal Code of Panama (embezzlement

   by theft and misappropriation) provides that “[a] public officer who takes or

   embezzles in any way, or consent that somebody else appropriates, takes or

   embezzles any form of money, securities or property which administration,

   collection or custody have been entrusted by virtue of his position, shall be punished

   . . . .” (RAMB000031).7 And Article 341 of the same code (embezzlement of use)

   provides that “[a] public officer who, for purposes other than service, uses in his own

   or another’s benefit, or allows somebody else to use money, securities or property

   under his charge by reasons of his duties or which are in his custody, shall be

   punished . . . .” (RAMB000032). Thus, the Government argues that the conduct

   prohibited under Articles 338 and 341 constitute embezzlement by public officers

   under the Treaty and that the charges against Pres. Martinelli are extraditable

   offenses.

         The Government also suggests that Pres. Martinelli is incorrect in his view

   that embezzlement under the Treaty covers only the embezzlement of money.

   Instead, the Treaty, when interpreted liberally, purportedly refers to the

   embezzlement of anything of value in excess of $200. And the Government believes

   that “[t]here is no requirement in the Treaty that the crime charged needs to be the

   mirror image of an offense listed in the Treaty.” Matter of the Extradition of Pineda

   Lara, 1998 WL 67656, at *13 (S.D.N.Y. Feb. 18, 1998); see, e.g., Matter of the


         7   References to the government’s documents and exhibits shall be to the
   Bates Numbered documents identified as “RAMB____.”


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   Extradition of Matus, 784 F. Supp. 1052, 1057 (S.D.N.Y. 1992) (the fact that a

   Chilean offense included “additional essential elements [when compared with the

   offense listed in the applicable treaty] . . . [did] not render [the Chilean offense] non-

   extraditable”); Polo v. Horgan, 828 F. Supp. 961, 964-65 (S.D. Fla. 1993) (treaty that

   listed “fraud” as extraditable encompassed offenses charged as “embezzlement” and

   “unfaithful management”); Artukovic v. Rison, 784 F.2d 1354, 1356 (9th Cir. 1986)

   (treaty that listed “murder” as extraditable encompassed offenses charged as “war

   crimes”).

         Alternatively, even if Article II of the Treaty did not encompass the

   embezzlement charges, the Government contends that the UNCAC provides an

   independent basis for finding the embezzlement charges against Pres. Martinelli

   extraditable.   That convention enumerates “embezzlement, misappropriation or

   other diversion of property by a public official.” UNCAC, Art. 17. The Government

   argues that Panama’s embezzlement charges clearly fall within that broad

   definition because it refers to “property” and not simply “money.” The charges also

   allegedly meet the UNCAC’s dual criminality requirement because Pres.

   Martinelli’s conduct is “punishable under the domestic law of both the requesting

   state and the requested State Party.”        UNCAC, Art. 44(a).      Therefore, if Pres.

   Martinelli committed the same offenses in the United States, the Government




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   concludes that his conduct would be criminal under U.S. law8, including

   embezzlement in violation of 18 U.S.C. § 641.

         Our review of the record on extradition confirms that the 1904 Treaty covers

   the embezzlement charges alleged against Pres. Martinelli.          The Government

   correctly relies on the treaty language that embezzlement is extraditable when it

   “exceeds the sum of two hundred dollars.” See Treaty at Art. II. (emphasis added).

   Nothing in the plain language of the Treaty supports the view that embezzlement

   must be restricted solely to money and cannot be applied to the embezzlement of

   property.

         Moreover, the Supreme Court has made it clear that if a treaty has two

   conflicting interpretations, the more liberal construction is to be preferred in favor

   of extradition:

         In choosing between conflicting interpretations of a treaty obligation, a
         narrow and restricted construction is to be avoided as not consonant
         with the principles deemed controlling in the interpretation of
         international agreements. Considerations which should govern the
         diplomatic relations between nations, and the good faith of treaties, as
         well require that their obligations should be liberally construed so as to
         effect the apparent intention of the parties to secure equality and
         reciprocity between them. For that reason if a treaty fairly admits of
         two constructions, one restricting the rights which may be claimed


         8       The elements required for a conviction under Section 641 are as
   follows: (1) the money or thing of value described in the indictment belonged to the
   United States; (2) the defendant embezzled, stole, or knowingly converted the money
   or thing of value to his own use or to someone else’s use; (3) the defendant knowingly
   and willfully intended to deprive the United States of the use or benefit of the
   money or thing of value; and (4) the money or thing of value had a value greater
   than $1,000.       See Eleventh Circuit Pattern Jury Instructions (Criminal)
   (hereinafter “Pattern”), Offense Instruction No. 21 (2016); see also, e.g., United
   States v. McCree, 7 F.3d 976, 980 (11th Cir. 1993).



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         under it, and the other enlarging it, the more liberal construction is to
         be preferred.

   Factor, 290 U.S. at 293-94. In other words, “[t]he correct analysis must focus on

   whether the crime charged contains at least the same essential elements as offenses

   listed in the Treaty.”   Pineda Lara, 1998 WL 67656, at *13 (citing Matter of

   Extradition of Matus, 784 F. Supp. 1052, 1057 (S.D.N.Y. 1992) (offense is

   extraditable where crime charged contains essential elements of treaty offense);

   Koskotas v. Roche, 740 F. Supp. 904, 910 (D. Mass. 1990), aff’d, 931 F.2d 169 (1st

   Cir. 1991) (“The focus should be on whether the crime charged and the treaty

   offense share the same essential elements”)). Therefore, we need not reach the

   question of whether embezzlement is extraditable under the UNCAC because we

   hold that the embezzlement of property or money in excess of $200 is an

   extraditable offense under the 1904 Treaty.

                             2. The Surveillance Charges

         The next issue – and perhaps the most contested – is whether the Treaty

   covers the alleged surveillance crimes. There is no dispute that the two surveillance

   crimes were originally not extraditable offenses under the 1904 Treaty.           The

   surveillance crimes were added as extraditable offenses under the Budapest

   Convention effective as to Panama on July 1, 2014. The original Treaty provides

   that “[t]he present Treaty shall not operate retroactively.” Treaty, Art. XII. Yet,

   the charges against President Martinelli are based on crimes alleged to have

   occurred before July 1, 2014. [D.E. 1]. Therefore, Pres. Martinelli contends on three

   separate grounds that extradition on the surveillance charges would require



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   applying the Budapest Convention retroactively, in violation of the original Treaty’s

   non-retroactivity language. See Galanis v. Pallanck, 568 F.2d 234, 239 (2d Cir.

   1977) (“[T]he enlargement in the list of extraditable crimes would not subject to

   extradition persons who had committed such crimes prior to the effective date of the

   new treaty.”).

         First, Pres. Martinelli claims that the Budapest Convention did not contain

   any non-retroactivity language. Like all multilateral conventions, Pres. Martinelli

   suggests that the Budapest Convention applies to bilateral treaties between

   signatory states – each of which have different terms, conditions, and restrictions.

   As such, the Budapest Convention supposedly applies to different treaties in

   different ways. See Budapest Convention, Art. 24 ¶ 5 (“Extradition shall be subject

   to the conditions provided for by the law of the requested Party or by applicable

   extradition treaties[.]” (emphasis added)); id. at Art. 39 ¶¶ 1, 3 (“The purpose of the

   present Convention is to supplement applicable multilateral or bilateral treaties or

   arrangements between the Parties[.] Nothing in this Convention shall affect other

   rights, restrictions, obligations and responsibilities of a Party.” (emphasis added)).

         Pres. Martinelli suggests that the language from the Budapest Convention is

   not surprising considering it would be an efficient way to handle all conditions and

   restrictions that may vary from treaty to treaty, including warrant requirements,

   political offense exceptions, statutes of limitations, and non-retroactivity provisions.

   Thus, the Budapest Convention’s addition of surveillance crimes purportedly has no

   effect on the 1904 Treaty’s non-retroactivity provision. Courts in our district have




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   held in prior cases that conventions with similar language have expressly

   incorporated the conditions of the underlying treaty notwithstanding the addition of

   extraditable offenses. See, e.g., Matter of Extradition of Aguilar, 2004 WL 763802,

   at *3 (S.D. Fla. Apr. 7, 2004) (“This Court disagrees with the Government’s

   interpretation of the Treaty and Convention.          The Convention merely added

   extraditable offenses, it did not in any way constitute a blanket modification of the

   Treaty which would eliminate the presence in the country requirement.”).

            Second, Pres. Martinelli acknowledges that the State Department is accorded

   deference on the interpretation of international treaties.       Yet, Pres. Martinelli

   argues that the supplemental declaration from a State Department official that

   addresses the Treaty’s non-retroactivity provision is only one page in length and

   cites no authority – legal, factual, or otherwise – for the position that the Treaty can

   apply retroactively for the surveillance crimes.      Instead, the declaration merely

   surmises that “[t]his provision was intended to preclude extradition in cases where

   the criminal conduct at issue occurred prior to entry into force of the Treaty in

   1905.”    [D.E. 51-1].   Pres. Martinelli contends that this letter offers nothing of

   substance from an analytical perspective and, aside from being conclusory, the

   declaration purports to inform what the parties intended the non-retroactivity

   provision to mean. Not only is this something that the State Department official

   cannot do because of a lack of evidence, it is something he may not do under the

   plain and unambiguous terms of the non-retroactivity provision. See United States

   v. Alvarez-Machain, 504 U.S. 655, 663 (1992) (“In construing a treaty, as in




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   construing a statute, we first look to its terms to determine its meaning.”); Maximov

   v. United States, 373 U.S. 49, 54 (1963) (“[I]t is particularly inappropriate for a

   court to sanction a deviation from the clear import of a solemn treaty between this

   Nation and a foreign sovereign, when, as here, there is no indication that

   application of the words of the treaty according to their obvious meaning effects a

   result inconsistent with the intent or expectations of its signatories.”).

         Third, Pres. Martinelli contends that there is nothing ambiguous about the

   sentence in the 1904 Treaty containing the non-retroactivity provision. The Treaty

   states it “shall take effect on the thirtieth day after the date of the exchange of

   ratifications, and shall not operate retroactively.” Treaty, Art. XII. This allegedly

   means two distinct and separate things: (1) that the Treaty will take effect on a

   certain date, and (2) that the Treaty will not operate retroactively. Pres. Martinelli

   argues that this undercuts the Government’s entire position, which is that the

   clause preceding the non-retroactivity provision shows that the provisions applies

   only to offenses committed before 1905, i.e. the Treaty’s effective date.

         Instead, Pres. Martinelli suggests that the conjunction – “and” – links two

   independent clauses and therefore involves two independent conditions. He also

   contends that the sentence employs the verb shall twice as further evidence that the

   verb refers back to the subject of the sentence: the Treaty. In other words, Pres.

   Martinelli argues that the Treaty shall be effective on the applicable date and the




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   Treaty shall not operate retroactively.9 Pres. Martinelli believes that, under the

   Government’s interpretation, the second “shall” would be surplusage, in derogation

   of basic principles of statutory construction. See Black’s Law Dictionary, 1581 (9th

   ed. 2009) (defining “surplusage” as “[r]edundant words in a statute or legal

   instrument; language that does not add meaning”); see also Brotherhood of

   Locomotive Eng’rs & Trainmen Gen. Comm. of Adjustment CSX Transp. N. Lines v.

   CSX Transp., Inc., 522 F.3d 1190, 1195 (11th Cir. 2008) (“[C]ourts must reject

   statutory interpretations that would render portions of a statute surplusage.”);

   United States v. Canals-Jimenez, 943 F.2d 1284, 1287 (11th Cir. 1991) (“A basic

   premise of statutory construction is that a statute is to be interpreted so that no

   words shall be discarded as being meaningless, redundant, or mere surplusage.”).

   Because both conditions were incorporated via the Budapest Convention,

   extradition on the surveillance charges against Pres. Martinelli would run afoul of

   non-retroactivity clause in the 1904 Treaty.

         Pres. Martinelli also argues that if the parties wanted to give the Treaty

   retroactive effect – like the United States has done in numerous other treaties –

   they would said so through unambiguous language that accomplished this goal.10



         9      Pres. Martinelli also states that the Treaty employs a comma before
   the conjunction linking the clauses as further evidence that the two are
   independent. As such, Pres. Martinelli believes that the comma would serve no
   discernible purpose apart from emphasizing the separateness of the two clauses.

         10     See, e.g., Treaty on Extradition Between New Zealand and the United
   States of America, U.S.-N.Z., Dec. 8, 1970, T.I.A.S. No. 7035 (“This Treaty shall
   apply to offenses specified in Article II committed before as well as after the date
   this Treaty enters into force, provided that no extradition shall be granted for an


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   The parties failed to do so. So Pres. Martinelli urges the Court to deny extradition

   on the surveillance offenses because that would constitute a retroactive application

   of the Treaty. See Fernandez-Morris, 99 F. Supp. 2d at 1360 (“In order for an

   extradition to be proper . . . the charges must be included in the treaty as

   extraditable offenses[.]”).

          The Government strongly disputes Pres. Martinelli’s interpretation of the

   non-retroactivity provision for several reasons. First, the Government argues that

   the plain language of the Treaty precludes extradition only for offenses occurring

   prior to its entry into force and that the plain language supports this view: “The

   present Treaty shall take effect on the thirtieth day after the date of the exchange of

   ratifications and shall not operate retroactively.”     Treaty, Art. XII.11   In other



   offense committed before the date this Treaty enters into force which was not an
   offense under the laws of both countries at the time of its commission.”); Treaty on
   Extradition Between the United States and Paraguay, U.S.-Par., May 7, 1974,
   T.I.A.S 7838 (“This Treaty shall apply to offenses specified in Article 2 committed
   before as well as after the date this Treaty enters into force, provided that no
   extradition shall be granted for an offense committed before the date this Treaty
   enters into force which was not an offense under the laws of both Contracting
   Parties at the time of its commission.”); Treaty on Extradition Between the United
   States and Italy, U.S.-Ita., Mar. 11, 1975, T.I.A.S. 8052 (“This Treaty shall apply to
   offenses mentioned in Article II committed before as well as after the date this
   Treaty enters into force, provided that no extradition shall be granted for an offense
   committed before the date this Treaty enters into force which was not an offense
   under the laws of both Contracting Parties at the time of its commission.”).

          11    Although anti-retroactivity provisions are not a common feature of
   many modern extradition treaties, the provision at issue here is not unique. See,
   e.g., Treaty Between the United States and the Kingdom of Denmark for the
   Extradition of Fugitives from Justice, Art. XII, U.S.-Den., Jan. 6, 1902, 32 Stat.
   1906 (applicable in Iceland) (“The present Treaty shall take effect on the thirtieth
   day after the date of the exchange of ratifications, and shall not operate
   retroactively.”); Treaty Between the United States and Servia for the Mutual


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   words, the plain language allegedly indicates that the Treaty has effect only after

   the date of the exchange of ratification, May 8, 1905, and does not cover offenses

   occurring prior to that date.     The Government contends that this reading is

   reinforced by the fact that the next sentence relates again to the year 1905: “The

   ratifications of the present Treaty shall be exchanged at Washington or at Panama

   as soon as possible, and it shall remain in force for a period of six months after

   either of the contracting Governments shall have given notice of a purpose to

   terminate it.” Id.   So the Government concludes that the Budapest Convention

   preserves the entire condition in Article XII, which is that the Treaty may not be

   applied to offenses occurring before May 8, 1905.

         The Government also suggests that Pres. Martinelli’s reading of the non-

   retroactivity provision is not supported by the text. The Government argues that

   the comma separating the two clauses in the first sentence of Article XII – which

   does not appear in the equally valid Spanish version of the Treaty – merely sets

   apart the string of prepositional phrases in the first clause from the second clause.12

   The dependence of the second clause of the first sentence in Article XII (“shall not

   operate retroactively”) upon the first clause is apparently evident from the fact that

   it lacks a subject, and thus does not make sense standing alone. See Hamilton v.


   Extradition of Fugitives from Justice, Art. XI, U.S.-Yugo., Oct. 25, 1901, 32 Stat.
   1890 (“The present Treaty shall take effect on the thirtieth day after the date of the
   exchange of ratifications and shall not act retroactively.”).

         12      In Spanish, Article XII of the Treaty reads: “El presente Tratado
   empezará a regir el trigésimo día después de la fecha en que se hayan canjeado las
   ratificaciones y no tendrá efecto retroactivo.” App’x to Declaration of Susan R.
   Benda [D.E. 8].


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   Werner Co., 268 F. Supp. 2d 1085, 1088 (S.D. Iowa 2003) (“An independent clause is

   one that contains a subject and a predicate and makes sense standing alone, that is,

   it expresses a complete thought.”); In re Swetic, 493 B.R. 635, 639 (Bankr. M.D. Fla.

   2013) (finding that a clause following the conjunction “and” was “not an

   independent clause” because it did “not have a subject, and it [did] not make sense

   on its own”).

         Under this interpretation, the first clause of the sentence (“[t]he present

   Treaty shall take effect on the thirtieth day after the date of the exchange of

   ratifications”) is independent (i.e. the      controlling   clause)   and   is   merely

   complemented by the second clause. See In re Rowe, 750 F.3d 392, 396 (4th Cir.

   2014) (“[T]he most natural reading of [a provision containing “shall”] is that the

   independent clause states a mandatory rule, while the dependent clause states

   when that rule applies.”) (quotation omitted). Therefore, the most natural reading,

   in the Government’s view, is that the second clause prohibits a retroactive

   application of the Treaty with respect to the timeframe identified in the clause

   preceding it. See Freeman v. Brown Bros. Harriman & Co., 250 F. Supp. 32, 34

   (S.D.N.Y.), aff’d, 357 F.2d 741 (2d Cir. 1966) (“In construing a statute, a particular

   expression should not be detached from its context so as to give it a special

   meaning.”).

         The Government also takes issue with Pres. Martinelli’s reliance on the

   Second Circuit’s decision in Galanis v. Pallanck, 568 F.2d at 234. The Government

   argues that Galanis did not involve the supplementation of an extradition treaty by




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   a multilateral convention, as is the case here. Rather, the Second Circuit allegedly

   only considered whether a fugitive, whose extradition had been requested in 1974

   pursuant to an 1842 extradition treaty between the United States and Canada,

   could take advantage of a double-jeopardy defense added to the bilateral extradition

   effective in 1976. See id. at 237. The latter treaty provided that it “terminate[d] and

   replace[d] any extradition agreements . . . in force between the United States and

   Canada; except that the crimes listed in such agreements and committed prior to the

   entry into force of this Treaty shall be subject to extradition pursuant to the

   provisions of such agreements.” Id. The Government suggests that the Second

   Circuit held that, despite this language, “the double jeopardy clause of the [1976]

   treaty applies in all proceedings begun after the exchange of ratifications even

   though the crime occurred before.” Id. at 239. In so holding, the Second Circuit

   purportedly rejected the contrary view of the U.S. Department of State in light of

   the fact that “it would seem reasonable to conclude that [the drafters of the 1976

   treaty] . . . wished this and other improvements implemented by the 1976 treaty to

   become operative as soon as the treaty became effective.” Id.

         By contrast, the Government believes that in this case there is no similar

   reason why it would be reasonable to reject the view of the State Department,

   particularly where this view is shared by Panama and is supported by the parties’

   past practices.13



         13     The Government maintains that Pres. Martinelli’s reliance on Galanis
   is also somewhat misleading because he claims that the Second Circuit
   “consider[ed] nearly identical language” to the language at issue here and “found


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         In any event, the Government believes that there is strong support to find

   that the supplemental addition of surveillance crimes had no effect on the Treaty’s

   non-retroactivity provision because that provision simply discusses how the Treaty

   shall “operate.” Treaty, Art. XII. The non-retroactivity provision is also allegedly

   not a “condition” of extradition,14 but even if it was, the Government believes it

   would be of no help to Pres. Martinelli because it remains tied to the date of the

   original Treaty. See Budapest Convention, Art. 24(5) (“Extradition shall be subject

   to the conditions provided for by the law of the requested Party or by applicable


   that [a] statement that ‘[t]he Treaty is not retroactive in effect’ meant, at a
   minimum, that ‘the enlargement in the list of extraditable crimes would not subject
   to extradition persons who had committed such crimes prior to the effective date of
   the new treaty.’” [D.E. 58, at 4 (emphasis in original) (quoting Galanis, 568 F.2d at
   239).] The Government argues that the language in Galanis regarding the non-
   retroactive effect of the treaty did not appear in the treaty itself, but rather in a
   letter from the Acting Secretary of State when he submitted the treaty to the
   president. Plus the Second Circuit found the statement “altogether inconclusive”
   and speculated as to “what [the statement] could mean.” Galanis, 568 F.2d at 239.
   As such, Galanis allegedly has no application here. Similarly, the Government also
   argues that Pres. Martinelli’s reliance on In re Extradition of Aguilar is misplaced
   because the court in that case found that the relevant convention “merely added
   extraditable offenses,” but “did not in any way constitute a blanket modification of
   the Treaty.” See 2004 WL 763802, at *3. Along those same lines, the Government
   suggests that Budapest Convention did not amend the non-retroactivity provision;
   rather, the operative date for anti-retroactivity, “the thirtieth day after the date of
   the exchange of ratifications,” remains fixed. Therefore, following Panama’s
   accession to the Budapest Convention well after that date, Panama could supposedly
   request extradition for the crimes enumerated therein, irrespective of when those
   crimes were alleged to have occurred.

         14      The examples of conditions described in the Explanatory Report to the
   Budapest Convention are where the treaty provides “that extradition shall be
   refused if the offence is considered political in nature, or if the request is considered
   to have been made for the purpose of prosecuting or punishing a person on account
   of, inter alia, race, religion, nationality or political opinion.” Council of Eur.,
   Explanatory Report to the Convention on Cybercrime, ¶ 250 (Nov. 23, 2001),
   available at https://rm.coe.int/16800cce5b.


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   extradition treaties, including the grounds on which the requested Party may refuse

   extradition.”). And to the extent the non-retroactivity provision may be construed

   as a “restriction[,]” the Government argues that the relevant text is still tied

   exclusively to the date of ratification. See id. Art. 39(3) (“Nothing in this Convention

   shall affect other rights, restrictions, obligations and responsibilities of a Party.”).

   In sum, the Government contends that (1) the Budapest Convention merely

   supplemented the list of extraditable offenses set forth in the Treaty as of the date of

   Panama’s accession, and that (2) the Convention is not being applied retroactively

   because the non-retroactivity language only applies to crimes committed before

   1905.

           Second, the Government argues that the Court should defer to the view of the

   State Department – which Panama concurs – that the non-retroactivity provision

   does not prevent extradition in this case.     The State Department unequivocally

   views the Treaty’s non-retroactivity provision as precluding extradition only in

   cases where the criminal conduct at issue occurred prior to the entry into force of the

   Treaty in 1905. [D.E. 51-1].     The State Department claims “that the criminal

   conduct in this case alleged to constitute interception of private telecommunications

   without judicial authority and tracking, persecution, and surveillance without

   judicial authority under Panamanian law, which occurred prior to Panama’s

   accession to the [Budapest Convention], but well after the entry into force of the

   [Treaty], is extraditable under the terms of the Treaty.”         Declaration of Tom

   Heinemann (Aug. 18, 2017), Exh. A, ¶ 2. And although Panama’s accession to the




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   Budapest Convention on July 1, 2014, was significant in that it allowed Panama to

   request and grant extradition for crimes such as wiretapping offenses as of that

   date, the Government suggests that the date is irrelevant to the issue of non-

   retroactivity. See id.

         In light of the State Department’s view on the non-retroactivity provision in

   the Treaty, the Government urges the Court to defer to this interpretation because

   “[i]t is well settled that the Executive Branch’s interpretation of a treaty is entitled

   to great weight.” Abbott v. Abbott, 560 U.S. 1, 15 (2010) (citation and internal

   quotation marks omitted); see, e.g., Duarte- Acero, 296 F.3d at 1282 (“[T]he State

   Department’s interpretation of a treaty is entitled to great deference.”); Demjanjuk

   v. Petrovsky, 776 F.2d 571, 579 (6th Cir. 1985) (deferring to Department of State’s

   view that the offense for which the fugitive’s extradition had been requested

   constituted “murder,” which was listed as an extraditable offense in the U.S.-Israel

   extradition treaty), vacated on other grounds, 10 F.3d 338 (6th Cir. 1993); Heilbronn

   v. Kendall, 775 F. Supp. 1020, 1023-24 (W.D. Mich. 1991) (deferring to Department

   of State’s view that the offense for which the fugitive’s extradition had been

   requested constituted “bribery,” which was listed as an extraditable offense in the

   U.S.-Israel extradition treaty).

         Furthermore, the State Department’s interpretation is purportedly consistent

   with the practice adopted by the United States and Panama in recent extraditions

   involving alleged offenses pre-dating the entry into force of multilateral

   conventions.    For example, the United States has previously submitted, and




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   Panama previously granted, an extradition request relying on the UNCAC for a

   defendant charged with bribery and money laundering offenses allegedly committed

   prior to when the United States and Panama became parties to that Convention.

   Declaration of Tom Heinemann (Aug. 18, 2017), Exh. A, ¶ 6. Similarly, the United

   States submitted an extradition request, which Panama granted, relying on the

   United Nations Convention Against Illicit Traffic in Narcotic Drugs and

   Psychotropic Substances, for a defendant charged with drug trafficking offenses

   alleged committed prior to when Panama became a party to that Convention. See

   id.   The United States has apparently followed the same practice with other

   countries with which it has a treaty containing anti-retroactivity language identical

   to that at issue here. See id. ¶ 7 (discussing two separate cases in which the United

   States granted extradition requests submitted by Bosnia- Herzegovina for fugitives

   charged with war crimes, relying on the Convention Against Torture and Other

   Cruel, Inhuman or Degrading Treatment or Punishment, to which the United

   States became a party after the alleged crimes occurred).

          Though the Government believes that the view of the State Department is

   alone sufficient to end the inquiry into meaning of the non-retroactivity provision,

   deference to that view is allegedly warranted even more where Panama’s Ministry of

   Foreign Affairs concurs with that view.   See Kolovrat v. Oregon, 366 U.S. 187, 194

   (1961) (noting that “[w]hile courts interpret treaties for themselves, the meaning

   given them by the departments of government particularly charged with their

   negotiation and enforcement is given great weight,” and referring to the views of the




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   “responsible agencies of the United States and of Yugoslavia”); cf. In re the

   Extradition of Arias Leiva, 2017 WL 486942, at *6 (S.D. Fla. Feb. 6, 2017) (finding

   that the U.S.-Colombia extradition is in full force and effect because “the executive

   branches of the United States and Colombia have stated that it is the understanding

   of both sovereigns that the Extradition Treaty is currently in effect”).15

         The Government’s final argument is that, even if the non-retroactivity

   provision was ambiguous, the Court should follow the general cannon of extradition

   law requiring that extradition treaties be construed liberally in favor of extradition.

   See Factor, 290 U.S. at 293-94 (1933); Martinez, 828 F.3d at 463. Pres. Martinelli’s

   only alleged response is that the canon should not be applied here because there is

   no ambiguity in the provision. [D.E. 58, at 7-8]. But, the Government contends

   that Pres. Martinelli has no support for this argument. As such, Pres. Martinelli’s

   contentions are meritless; hence, the Court should construe the Treaty in favor of

   finding the surveillance offenses extraditable.

         As an initial matter, “[t]he interpretation of a treaty, like the interpretation

   of a statute, begins with its text.” Medellín v. Texas, 552 U.S. 491, 506 (2008).

   Here, the relevant text provides that “[t]he present Treaty shall take effect on the



         15     Panama’s official stance is that the anti-retroactivity provision
   “establishes that the 1904 Treaty will not operate—by creating any treaty rights or
   obligations—before its entry into effect on . . . 8 May 1905,” thus “exclud[ing] crimes
   committed before that date from the 1904 Treaty’s scope.” Declaration of Panama’s
   Ministry of Foreign Affairs – Directorate General of Legal Affairs and Treaties,
   Exh. A, ¶ 3. Furthermore, in Panama’s view, from the “date [of its accession to the
   Budapest Convention] forward, Panama had a right under the 1904 Treaty, or any
   other extradition treaty, to submit a request for extradition in respect of those
   offenses.” Id. ¶ 5.


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   thirtieth day after the date of the exchange of ratifications and shall not operate

   retroactively.”   Treaty, Art. XII. Given the structure of this sentence, the parties

   disagree on whether the sentence contains (1) two independent clauses, or (2) an

   independent clause and a dependent clause. The reason why this is important is

   that the Government suggests that the sentence can only be read as one condition,

   or restriction, tied together between an independent and dependent clause. In other

   words, the non-retroactivity language is tethered to the ratification date of the

   Treaty in 1905.

         On the other hand, Pres. Martinelli construes the sentence as two

   independent clauses that contain two separate conditions. If Pres. Martinelli is

   correct, that means that the latter condition – that the Treaty is non-retroactive –

   stands on its own, has no limitation to the year 1905, applies to the crimes

   incorporated via the Budapest Convention, and bars the Government from pursuing

   his extradition for offenses that occurred prior to July 1, 2014.

         While both parties have certainly presented reasonable interpretations of the

   meaning of this sentence, we agree with the Government that the relevant text

   contains both an independent clause (“[t]he present Treaty shall take effect on the

   thirtieth day after the date of the exchange of ratifications”) and a dependent clause

   (“shall not operate retroactively”). We reach this conclusion because the latter part

   of the sentence is dependent on the first and lacks a subject. In other words, the

   latter part only contains a predicate and, without more, makes little sense on its

   own. See Hamilton, 268 F. Supp. 2d at 1088 (“An independent clause is one that




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   contains a subject and a predicate and makes sense standing alone, that is, it

   expresses a complete thought.”). This means that the likeliest interpretation of the

   relevant text, when juxtaposed with the language in the Budapest Convention, is

   that the non-retroactivity provision is linked to the date the original Treaty took

   effect (i.e. 1905) as one overarching condition or restriction and that no crime

   committed before 1905 may be considered extraditable.

          A second point of inquiry is whether the non-retroactivity provision is

   ultimately a condition or a restriction.    According to the Budapest Convention,

   “[e]xtradition shall be subject to the conditions provided for by the law of the

   requested party or by applicable extradition treaties,” but “[n]othing in this

   Convention shall affect the other rights, restrictions, obligations and responsibilities

   of a Party.” Budapest Convention, Arts. 24(5) & 39(3) (emphasis added). Given the

   parties’ disagreement on the structural components of the non-retroactivity

   provision, the relevant text can arguably be construed as a condition or a

   restriction.   For example, assuming that Pres. Martinelli is correct as to the

   presence of two independent clauses, there would be two conditions, one of which

   includes a standalone condition of non-retroactivity.       Yet, if the Government’s

   interpretation is correct, then the relevant text is actually a single restriction

   because it limits the applicability of the non-retroactivity provision to the date in

   which the Treaty was ratified in 1905. Hence, the structural breakdown of the

   sentence is crucial because under one interpretation, it leads to a condition that can




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   be enforced via the Budapest Convention. On the other hand, it otherwise leads to a

   restriction that applies solely to the 1904 Treaty.

          As stated earlier, we find, based on the structural breakdown of the relevant

   text, that there is a both an independent clause and a dependent clause that applies

   the non-retroactivity language exclusively to the year 1905.             The relevant text

   operates as a single restriction, rather than as two separate conditions, which

   restriction limits the non-retroactivity provision to the year 1905.            That is so

   because, as a restriction, the Budapest Convention makes clear that “[n]othing in

   this   Convention    shall   affect   other    rights,   restrictions,    obligations   and

   responsibilities of a Party.”   Budapest Convention, Art. 39(3) (emphasis added).

   Under this interpretation, the non-retroactivity language, that is limited to 1905,

   remains unchanged when incorporated into the Budapest Convention and does not

   bar the Government from pursuing surveillance charges against Pres. Martinelli.

   The Government’s arguments on this matter are more persuasive.

          In any event, a conclusive determination on whether the relevant text

   constitutes a condition or a restriction – or for that matter two independent clauses

   as opposed to an independent clause and a dependent clause – is not absolutely

   essential to whether the surveillance crimes are incorporated into the Treaty. The

   reason why is that the U.S. Supreme Court adopted a principle long ago that “if a

   treaty fairly admits of two constructions, one restricting the rights which may be

   claimed under it, and the other enlarging it, the more liberal construction is to be

   preferred.” Factor, 290 U.S. at 294 (citations omitted). The reason for adhering to




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   this principle stems from the purpose of an extradition treaty, which is to ultimately

   facilitate extradition.   As such, Factor requires courts to “interpret extradition

   treaties to produce reciprocity between, and expanded rights on behalf of, the

   signatories.” In re Extradition of Howard, 996 F.2d 1320, 1330–31 (1st Cir. 1993).

         Because Pres. Martinelli’s construction, at best, raises an ambiguity on the

   applicability of the non-retroactivity provision, it is not enough to conclude that his

   interpretation ultimately prevails and bars his extradition. See, e.g., Martinez, 828

   F.3d at 463 (“In the face of one reading of ‘lapse of time’ that excludes the speedy-

   trial right and another reading that embraces it, Factor says we must prefer the

   former.”). Therefore, we hold that the alleged surveillance crimes are incorporated

   into the Treaty and that the non-retroactivity provision does not bar the

   Government from seeking Pres. Martinelli’s extradition.16

         E.     Probable Cause Exists for Each Extraditable Charge

         The Court must now determine whether the evidence in the extradition

   record is sufficient to sustain the charges filed in Panama. If there is insufficient

   evidence of probable cause, then the statutory requirements have not been met and

   Panama’s allegations “are nothing more than suspicions, and the request must be

         16      The State Department and Panama both agree with our interpretation
   on the non-retroactivity clause, and while their views are not conclusive, they are
   given great weight and considerable deference. See Kolovrat, 366 U.S. at 194 (noting
   that “[w]hile courts interpret treaties for themselves, the meaning given them by the
   departments of government particularly charged with their negotiation and
   enforcement is given great weight,” and referring to the views of the “responsible
   agencies of the United States and of Yugoslavia”); In re the Extradition of Arias
   Leiva, 2017 WL 486942, at *6 (finding that the U.S.-Colombia extradition is in full
   force and effect because “the executive branches of the United States and Colombia
   have stated that it is the understanding of both sovereigns that the Extradition
   Treaty is currently in effect”).


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   denied.”   Fernandez-Morris, 99 F. Supp. 2d at 1366.            “The purpose [of the

   extradition hearing] is to inquire into the presence of probable cause to believe that

   there has been a violation of one or more of the criminal laws of the extraditing

   country, that the alleged conduct, if committed in the United States, would have

   been a violation of our criminal law, and that the extradited individual is the one

   sought by the foreign nation for trial on the charge of violation of its criminal laws.”

   Peroff v. Hylton, 542 F.2d 1247, 1249 (4th Cir. 1976).

         Probable cause is a standard defined by federal law, Sindona v. Grant, 619

   F.2d 167 (2d Cir. 1980), and is established when a “prudent man” believes that the

   suspect has committed or was committing an offense. See Gerstein v. Pugh, 420

   U.S. 103, 111 (1975); Collins, 259 U.S. at 316 (“The function of the committing

   magistrate is to determine whether there is competent evidence to justify holding

   the accused to await trial, and not to determine whether the evidence is sufficient to

   justify a conviction.”) (citations omitted); Fernandez v. Phillips, 268 U.S. 311, 312

   (1925) (“Competent evidence to establish reasonable grounds is not necessarily

   evidence competent to convict.”).

         The probable cause determination is not a finding of fact “in the sense that

   the court has weighed the evidence and resolved disputed factual issues,” Caplan v.

   Vokes, 649 F.2d 1336, 1342 (9th Cir. 1981) (citing Heiniger v. City of Phoenix, 625

   F.2d 842, 843 (9th Cir. 1980)). Instead, probable cause “serve[s] only the narrow

   function of indicating those items of submitted evidence on which the decision to

   certify extradition is based.”   Caplan, 649 F.2d at 1342 n.10. Thus, it requires




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   “only a probability or substantial chance of criminal activity,” Illinois v. Gates, 462

   U.S. 213, 243 n.13 (1983), or, in other words, “the existence of a reasonable ground

   to believe the accused guilty’” of the crime charged. Escobedo v. United States, 623

   F.2d 1098, 1102 (5th Cir. 1980) (quoting Garcia–Guillern v. United States, 450 F.2d

   1189, 1192 (5th Cir. 1971)).      And although probable cause is not necessarily a

   difficult standard to meet, “[c]onclusory statements do not satisfy the probable

   cause standard.” In re Lehming, 951 F. Supp. 505, 517 (D. Del. 1996) (failing to find

   probable cause where the report relied upon by the government did not personally

   implicate the relator in the transaction thus leaving that court to speculate as to the

   nature of his involvement).

            In making a probable cause determination, an extraditee cannot merely

   allege    that   the   evidence   submitted    by   the   requesting   country   contains

   inconsistencies. See, e.g., Matter of Extradition of Shaw, 2015 WL 3442022, at *7

   (S.D. Fla. May 28, 2015) (finding probable cause despite extradite arguing that the

   evidence presented was “unreliable, contradictory, inconsistent, unbelievable, and

   inadmissible”); Matter of Extradition of Figueroa, 2013 WL 3243096, at *8 (N.D. Ill.

   June 26, 2013) (“In sum, although we agree with [the extraditee] that the evidence

   that Mexico has provided is by no means perfect, the issue before us is not whether

   [he] should be convicted of the crime. . . . Although there may be some

   inconsistencies in the record, we do not believe that these are so compelling as to

   negate a finding of probable cause.”); Castro Bobadilla, 826 F. Supp. at 1433-34




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   (upholding probable cause finding despite “contradictions in the evidence [that] may

   create a reasonable doubt as to [the fugitive’s] guilt”).

         Rather, an extraditee must negate or completely obliterate the requesting

   country’s showing of probable cause. As Judge Hoeveler stated nearly thirty-years

   ago, an extraditee cannot avoid extradition simply by contradicting the requesting

   country’s case or its witnesses:

         In order to ‘negate’ Hong Kong’s showing of probable cause, Petitioner
         must discredit the testimony relied upon by Hong Kong to the extent
         that this Court can find that there is not ‘any evidence warranting the
         finding that there was reasonable ground to believe the accused guilty.’
         Although some doubt as to the credibility of Chan Kam Chuen’s
         version of what actually transpired is cast by the fact that his
         testimony was provided while he was in prison awaiting sentencing for
         the very crime in which he was implicating Petitioner, the appropriate
         acid test for his testimony must take place at a trial on the merits, not
         on motion for writ of habeas corpus.

   Cheng Na-Yuet, 734 F. Supp. at 996 (internal citation omitted).        As one might

   expect, “[t]his is a very difficult standard to meet,” Shaw, 2015 WL 3442022, at *9,

   especially where “[t]he primary source of evidence for the probable cause

   determination is the extradition request, and any evidence submitted in it is

   deemed truthful for purposes of this determination.” Matter of Extradition of Atta,

   706 F. Supp. 1032, 1051 (E.D.N.Y. 1989) (citing Collins, 259 U.S. at 315-16).

         Because an extradition hearing is only preliminary in nature and not a

   determination of guilt or innocence, the resolution of any inconsistencies in the

   record is of no consequence as long as sufficient evidence of probable cause remains.

   See Matter of Extradition of Rodriguez Ortiz, 444 F. Supp. 2d 876, 891-93 (N.D. Ill.

   2006) (holding that the issue of inconsistencies in witness statements are “properly



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   reserved for the eventual trial in Mexico”).       Therefore, we must exercise our

   independent judgment, as required under federal law, to determine the propriety of

   Pres. Martinelli’s extradition.

                1. The Arrest Warrant and Panamanian Procedures

         Pres. Martinelli first feverishly raises several procedural challenges to the

   Government’s evidence of probable cause. He points to an allegedly defective arrest

   warrant under Panamanian law, as well as other failures by Panamanian officials

   tasked with this investigation.    First, they failed to comply with a mandatory

   procedure in this case – imputación – which failure precludes the Panamanian

   courts from exercising jurisdiction to issue a valid indictment or arrest warrant.

   More specifically, Pres. Martinelli argues that the Treaty requires that the country

   seeking extradition produce “a duly authenticated copy of the warrant of arrest in

   the country where the crimes has been committed[.]” Treaty at Art. III. Article 481

   of the Panamanian Penal Code provides that special procedures include “the

   common and ordinary proceedings,” and that it is only after imputación occurs that

   a fundamental and mandatory investigation phase may begin. And Pres. Martinelli

   also argues that it is not until after the conclusion of the investigation phase that a

   prosecutor can issue an indictment. Thus, Pres. Martinelli contends that Díaz –

   who claims that imputación is not required in this case – has continually misled the

   Court on Panamanian law.17




         17    According to Díaz, imputación is only required by the general
   procedures in a criminal action. Because this case is governed by special


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         Second, Pres. Martinelli argues that Eleventh Circuit precedent requires a

   foreign country seeking extradition to produce an arrest warrant that refers to at

   least one extraditable offense. See Hill v. United States, 737 F.2d 950, 951 (11th

   Cir. 1984) (“The warrant may specify all the charges if the requesting country so

   chooses, but it need refer to only one.”) (emphasis in original). Because the arrest

   warrant in this case does not do so, and instead focuses on his “contempt” in failing

   to appear, Pres. Martinelli believes it is insufficient on its face to support his

   extradition.

         Third, Pres. Martinelli takes issue with the Government’s reliance on an

   opinion from the State Department that claims that the Treaty “does not require

   the warrant of arrest to list the charges for which extradition is sought.” [D.E. 22-

   1]. Pres. Martinelli argues that the State Department official cited no legal support

   for his opinion and, while the State Department is entitled to some deference on the

   interpretation of the Treaty between Panama and the United States, this deference

   cannot overcome binding Eleventh Circuit precedent.

         As a broad overview, the Government’s response is that Pres. Martinelli’s

   arguments lack merit because: (1) they improperly challenge Panama’s assertion

   that it had jurisdiction to issue the warrant, and any arguments to the contrary

   based on the lack of an imputación are properly decided by a Panamanian court; (2)

   they are not factually viable, as the warrant refers to the four charges pending

   against Martinelli Berrocal by reference to the number of the criminal case pending


   procedures, Díaz attests in his supporting affidavits that imputación is not
   required to charge Pres. Martinelli.


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   against him; (3) they would improperly require the Court to second-guess Panama’s

   conclusion that under its legal system, the warrant serves as the mechanism to

   arrest Martinelli Berrocal on the charges against him; (4) they would improperly

   require the Court to read an additional requirement into the Treaty beyond what the

   state parties agreed to, see Treaty, Art. III, (requiring only that warrant be “duly

   authenticated”); (5) they would be contrary to the parties’ intent to provide for

   mutual extradition, as it would impose a requirement at odds with Panama’s usual

   legal process; (6) they would be contrary to the canon of extradition law requiring

   that ambiguities in the Treaty must be resolved in favor of extradition; and (7) they

   would be contrary to the view of the Department of State – which is entitled to great

   weight – that the Treaty’s warrant requirement has been satisfied in this case.

   [D.E. 22, at 4-11].

         In sum, the Government’s primary contention is that the Court should defer

   to the view of Panama in interpreting its own laws. That position stands on very

   firm footing. See, e.g., Basic v. Steck, 819 F.3d 897, 901 (6th Cir. 2016) (concluding

   that “[w]e will not second guess th[e] determination” by the Government of Bosnia

   that a “[d]irective to find and arrest” the fugitive constituted the “arrest warrant”

   required under the applicable extradition treaty); Skaftouros v. United States, 667

   F.3d 144, 160 n.20 (2d Cir. 2011) (noting that “we defer to the Greek courts, which

   may consider whether [the fugitive] or the Greek prosecutors have the better

   of the argument” regarding whether the warrant underlying the extradition request

   was valid under Greek law); Matter of Extradition of Jimenez, 2014 WL 7239941, at




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   *1-2 (D. Md. Dec. 16, 2014) (noting that the court would not “question the reliability

   or trustworthiness of a judicial decree from a foreign nation” which stated that the

   fugitive’s sentence had not lapsed, despite the fugitive’s claim to the contrary);

   Matter of Extradition of Robertson, 2012 WL 5199152, at *7-12 (E.D. Cal. Oct. 19,

   2012) (declining to examine Canadian law and Canada’s representation that a “long

   term supervision order” forms part of the fugitive’s sentence and is not separate

   therefrom); Matter of Extradition of Basic, 2012 WL 3067466, at *19 (E.D. Ky. July

   27, 2012) (“declin[ing] to weigh the extent of [Bosnia’s] procedural compliance with

   its own laws” because “[t]his court is ill-equipped to parse Bosnian or Republika

   Srpska practice for the fine technical points on the topic of warrant issuance”).

          As a result, we agree with the Government that it is not the role of U.S.

    judges presiding over extradition proceedings to opine on, or worse challenge, a

    foreign government’s interpretation of its own law. See, e.g., Grin v. Shine, 187

    U.S. 181, 190 (1902) (“[I]t can hardly be expected of us that we should become

    conversant with the criminal laws of Russia, or with the forms of warrants of

    arrest used for the apprehension of criminals.”); Matter of Extradition of Mathison,

    974 F. Supp. 2d 1296, 1310 (D. Or. 2013) (“An American extradition court is

    neither equipped nor empowered to interpret and apply the Mexican constitution

    or to determine was rights it bestows upon the individuals charged with violating

    Mexican laws”); Skaftouros, 667 F.3d at 156 (“Any arguments regarding the

    demanding country’s compliance with its own laws . . . are properly reserved for

    the courts of that country.”).




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          The governing principle here is that there are important policy

    considerations – international comity and respect for a foreign nation’s

    sovereignty – that protect a foreign government from being forced to prove that it

    is properly construing its own laws. See, e.g., Sainez v. Venables, 588 F.3d 713,

    717 (9th Cir. 2009) (“[W]e have declined to rule on the procedural requirements of

    foreign law out of respect for other nations’ sovereignty . . . .”); Koskotas, 931 F.2d

    at 174 (“Extradition proceedings are grounded in principles of international

    comity, which would be ill- served by requiring foreign governments to submit

    their purposes and procedures to the scrutiny of United States courts.”); In re

    Application for an Order for Judicial Assistance in a Foreign Proceeding in the

    Labor Court of Brazil, 466 F. Supp. 2d 1020, 1028 (N.D. Ill. 2006) (“American

    courts should treat foreign law the way American courts want foreign courts to

    treat American law: avoid determining foreign law whenever possible.”).

          Adhering to these principles avoids the risk that a U.S. Court might

    erroneously interpret the law of a foreign country. See Sainez, 588 F.3d at 717

    (“[W]e recognize the chance of erroneous interpretation is much greater when we

    try to construe the law of a country whose legal system is not based on common

    law principles.”) (internal quotation marks and citation omitted); Matter of

    Assarsson, 635 F.2d 1237, 1244 (7th Cir. 1980) (“We often have difficulty

    discerning the laws of neighboring States, which operate under the same legal

    system as we do; the chance of error is much greater when we try to construe the

    law of a country whose legal system is much different from our own. The




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    possibility of error warns us to be even more cautious of expanding judicial power

    over extradition matters.”).

          In response to Pres. Martinelli’s specific argument that Panama has failed

    to produce a valid arrest warrant in this case, the Government contends that this

    argument has been proffered several times and still has no merit.             The

    Government reiterates that, in the time that Pres. Martinelli has been detained

    pending his extradition, further confirmation has been obtained that the

    Panamanian warrant is valid in all respects. In fact, Panama has unequivocally

    stated that the arrest warrant “complies with all legal requirements.” Supp. Aff.

    of Harry Díaz ¶55. And the Government also states that a copy of the accusations

    against Pres. Martinelli was provided to his defense counsel on November 16,

    2015, and a hearing on the charges was set for December 11, 2015. See id. ¶52.

    When Pres. Martinelli failed to appear for that hearing, the Government claims

    that an arrest warrant was properly issued pursuant to Article 158 of Panama’s

    Code of Criminal Procedure, which provides that when a defendant fails to appear

    when summoned, he “shall be declared in contempt and his provisional detention

    shall be ordered.” Id. As such, the Government believes that the arrest warrant

    in this case does not need to enumerate the specific charges against Pres.

    Martinelli, particularly because Panama has repeatedly asserted that the warrant

    is proper and that this Court should not find otherwise.18



         18    Panama previously explained that its warrant serves as “the basis for
   detaining [Pres. Martinelli] on . . . the charges for which his extradition was
   requested” and comports with Panamanian criminal procedure law. [D.E. 22-1].


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          The Government also disputes Pres. Martinelli’s suggestion that it failed to

    follow the proper process by foregoing the imputación phase of the investigation.

    The Government argues that Panama has clarified that an imputación is required

    in general prosecutions19 (of anyone subject to Panama’s jurisdiction), but not in

    matters of special prosecutions (of people holding special positions of authority

    such as Parlacen Deputies). [ D.E. 22-2]; see also Supp. Aff. of Harry Díaz ¶¶43-

    45. For special prosecutions, such as the extradition of Pres. Martinelli, instead of

    an imputación, a defendant is allegedly provided notice of the charges against him

    through a detailed written complaint describing, inter alia, the acts underlying

    the crimes of which he is accused and the evidence proving those acts.     Thus, the

    Government argues that no imputación was required in this case. And in any

    event, the Government points out that Panama has affirmed that Pres. Martinelli

    “has been allowed to exercise fully the guarantees and rights recognized in the

    Law, the Constitution, and the International Treaties and Conventions, which have

    been signed by the Republic of Panama, . . . and has been guaranteed the right to

    know the crimes of which he is being accused and the evidence that support these


   Moreover, the U.S. Department of State has expressed its view that the warrant
   requirement of the Treaty has been satisfied—a view to which this Court
   a l l e g e d l y should defer. See i d ; Declaration of Tom Heinemann, Assistant Legal
   Adviser for Law Enforcement and Intelligence in the Office of the Legal Adviser,
   Department of State (June 20, 2017). [D.E. 22-1].

         19     Panama contends that in a general proceeding, an investigation may
   be initiated merely upon the filing of a report of a crime with the police or
   prosecution office, without any specific evidentiary showing. Aff. of Jerónimo
   Emilio Meíja Edward, [ D.E. 22-2, at 6-7]. By contrast, in a special proceeding, an
   investigation may only be initiated by filing a complaint that demonstrates “prueba
   idónea,” which is the equivalent to probable cause.


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    allegations.” Supp. Aff. of Harry Díaz ¶51. Therefore, the Government strongly

    urges the Court to defer to Panama’s analysis on the process of imputación.

          The Government further contends that we should similarly defer to

    Panama with respect to its assertion that it may properly rely on the affidavit

    provided by Pitti, despite Pres. Martinelli’s suggestion to the contrary.       The

    affidavit has not yet been incorporated into the records of Panama’s investigation

    allegedly because the proceedings were suspended after Pres. Martinelli failed to

    appear when summoned in the case. See Supp. Aff. of Harry Díaz ¶42. But,

    according to Panama, once the proceedings are reopened, Article 385 of its

    Criminal Procedure Code will permit the prosecution to introduce the affidavit

    into the record at that time. See id. Accordingly, the Government believes that

    the fact that the affidavit is not currently part of the record in Panama does not

    necessarily prevent it from later being used in the prosecution against Pres.

    Martinelli.

          And finally, contrary to Pres. Martinelli’s assertions, the Government

    contends that the Eleventh Circuit did not hold in United States v. Hill, 737 F.2d

    950, 952 (11th Cir. 1984), that an extradition treaty’s requirement must refer to at

    least one extraditable offense.      In Hill, the Eleventh Circuit purportedly

    considered (and found sufficient under the U.S.-Canada extradition treaty) a

    warrant that referred to one of the multiple offenses for which a fugitive’s

    extradition had been requested. See id. The Eleventh Circuit allegedly held that

    there is no “implicit requirement [in the applicable treaty] of a warrant containing




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    all the extraditable charges.”       Id.    Then, in the following sentence, the

    Government points out that the Eleventh Circuit noted that the “warrant may

    specify all the charges if the requesting country so chooses, but it need refer to only

    one.” Id.

          The Government believes it is clear that the Eleventh Circuit’s holding was

    limited to the conclusion that a warrant reciting one charge satisfies a treaty’s

    warrant requirement. Id. And because the court was supposedly not confronted

    with the issue of whether a warrant that did not expressly list any charges would

    also be sufficient to satisfy the warrant requirement, its statement that a warrant

    “need refer to only one” is purportedly dictum. See Legal Servs. Corp. v. Velazquez,

    531 U.S. 533, 557 (2001) (“Judicial decisions do not stand as binding ‘precedent’

    for points that were not raised, not argued, and hence not analyzed.”) (Scalia,

    dissenting) (collecting cases).   The Eleventh Circuit apparently engaged in no

    analysis regarding the inclusion of one offense, and only decided whether the

    inclusion of one offense was sufficient – not whether it was necessary – to satisfy

    the treaty requirement.

          After full consideration of the arguments presented in connection with the

    Panamanian arrest warrant and the process of imputación, we find Pres.

    Martinelli’s contentions to be unpersuasive. First, while it is true that the arrest

    warrant in this case refers only to the offense of “contempt” on the face of the

    warrant, the associated evidence (i.e. the affidavits and the reference to the

    criminal case number) makes clear that there are four charges pending against




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    Pres. Martinelli. And it is equally clear that the four charges are included as an

    extraditable offense to satisfy the Eleventh Circuit’s requirement that at least one

    charge from the requesting country be extraditable. See Hill, 737 F.2d at 951

    (“The warrant may specify all the charges if the requesting country so chooses, but

    it need refer to only one.”) (emphasis in original).

             Specifically, the Treaty provides that the signatories shall grant extradition

    for “[e]mbezzlement by public officers; embezzlement by persons hired or salaried,

    to the detriment of their employers; where in either class of cases the

    embezzlement exceeds the sum of two hundred dollars; larceny.” Treaty at Art. II;

    [D.E. 12-1 at 4]. The Treaty also states that “if the fugitive is merely charged with

    a crime, a duly authenticated copy of the warrant of arrest in the country where

    the crime has been committed, and of the depositions or other evidence upon

    which such warrant was issued, shall be produced.” Treaty at Art. III; [D.E. 12-1

    at 5].

             Although Pres. Martinelli wishes to impose upon the Government a far

    more restrictive standard that requires that a U.S.-style arrest warrant expressly

    identify the extraditable charges, we find no authority that supports that view.

    The U.S. Supreme Court explained nearly eighty years ago that “a narrow and

    restricted construction is to be avoided” when interpreting treaties, Factor, 290

    U.S. at 293. And requests for extradition, even in a form that may be technically

    faulty under our own procedures, should be honored in good faith whenever

    possible. Glucksman, 221 U.S. at 512; Fernandez, 268 U.S. at 312. We see no




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    reason why the arrest warrant in this case should be construed so narrowly to

    require Panama to specifically include on its face an extraditable charge when the

    warrant, as a whole, makes it clear the grounds for Pres. Martinelli’s extradition.

    Accordingly, because extradition treaties should be “interpreted with a view to

    fulfil our just obligations to other powers[,]” Grin, 187 U.S. at 184, we hold that the

    arrest warrant in this case is valid, satisfies the plain language of the Treaty, and

    comports with Eleventh Circuit precedent. See also Fernandez, 268 U.S. at 312

    (“Form is not to be insisted upon beyond the requirements of safety and justice.”);

    McElvy v. Civiletti, 523 F. Supp. 42, 48 (S.D. Fla. 1981) (finding that courts should

    “approach challenges to extradition with a view towards finding the offenses

    within the treaty”).

          Second, the State Department and Panama are in agreement that the

    arrest warrant is valid in this case and that the process of imputación was not

    required to extradite Pres. Martinelli.        In its extradition request, Panama

    provided an overview of the process applicable to its prosecution of Pres.

    Martinelli. And Panama also explained that, under its law, different procedures

    apply to general prosecutions and special prosecutions. This view is supported

    by the declaration of Díaz, who stated that an imputación only applies to general

    prosecutions to provide the defendant with notice of the charges against him.

    Supp. Aff. of Harry Díaz ¶¶45-46.

          On the other hand, we have studied the numerous provisions of

    Panamanian law cited by the declarations from Pres. Martinelli’s expert, Roberto




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    Moreno.    He avers that an imputación was required and that Panama’s

    interpretation of its law is erroneous. But like almost every other court tasked

    with such a risky enterprise, we ultimately choose to defer to Panama as we will

    not second guess its interpretation of how its laws operate. See Skaftouros, 667

    F.3d at 160 n.20 (noting that “we defer to the Greek courts, which may consider

    whether [the fugitive] or the Greek prosecutors have the better of the

    argument.”). While Pres. Martinelli raises plausible arguments why an

    imputación was required, we are simply not equipped to opine on a foreign

    government’s interpretation of its own law.    See In re Extradition of Basic, 2012

    WL 3067466, at *19 (“declin[ing] to weigh the extent of [Bosnia’s] procedural

    compliance with its own laws” because “[t]his court is ill-equipped to parse

    Bosnian or Republika Srpska practice for the fine technical points on the topic of

    warrant issuance”). Díaz explained that than an imputación is not required in

    special proceedings because a defendant is provided notice of the charges and

    evidence against him in writing through an indictment instead of at a hearing.

    [D.E. 46-1, at 36]. While Pres. Martinelli may not accept this explanation, he may

    raise his concerns over the interpretation of Panamanian criminal procedures once

    he has returned to Panama. See, e.g., Basic, 819 F.3d at 901; Skaftouros, 667 F.3d

    at 160 n.20). In sum, we find that the challenged process of an imputación is for

    our purposes no bar to the extradition of Pres. Martinelli.




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                                2. Immunity Defenses

         Next, Pres. Martinelli argues that there is no probable cause to support his

   extradition because he has multiple forms of immunity that bar the four

   Panamanian offenses presented against him.        In response the Government of

   Panama takes the position that neither Article 191 of its Constitution, nor his role

   with the Central American Parliament (“Parlacen”),20 provides Pres. Martinelli with

   immunity for the charges pending against him.     According to Panama, Article 191

   establishes the forum in which criminal charges against a president or former

   president may be heard (i.e., the Supreme Court of Justice), but “does not prevent

   any President or former President from being investigated and tried for any offense

   he committed before he was President or during the time he was President.”    Supp.

   Aff. of Harry Díaz ¶35.

         Also according to the Government of Panama, Parlacen Deputies, such as

   Pres. Martinelli, have “the immunities enjoyed by the Representatives of the State

   where they were elected before their Congresses, Legislative Assemblies or

   National Assemblies”; however, Panamanian Deputies have no immunity in

   criminal matters. Id. ¶ 36. Therefore, there is competent evidence in the record to




         20     Parlacen, created in 1991, consists of elected representatives from
   Guatemala, El Salvador, Honduras, Nicaragua, Panama and the Dominican
   Republic. This regional parliamentary entity has its head office in Guatemala City
   and runs subsidiary organs in the capital of each member state. The Parlacen is
   the regional and permanent political entity tasked with implementing the
   integration of Central American countries. See http://www.parlacen.int/Portals/0/
   Language/English2016-18.pdf.


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   show that Pres. Martinelli “is not protected by immunity either as acting or former

   head of state, or as a member of [Parlacen].” Id. ¶ 34.

         That being said, the most persuasive reason why Pres. Martinelli’s immunity

   defense fails is that it is an issue solely reserved for adjudication in Panama. It is

   well established that an immunity defense – which is undeniably an affirmative

   defense – is not a proper consideration in an extradition proceeding.         See, e.g.,

   DeSilva v. DiLeonardi, 125 F.3d 1110, 1112 (7th Cir. 1997) (“Affirmative defenses

   not specified in the treaty may not be considered.”); Shaw, 2015 WL 3442022, at

   *4 (“Courts have determined that affirmative defenses to the merits of the

   charge(s) are not to be considered at extradition hearings.”) (citing Charlton v. Kelly,

   229 U.S. 447, 462 (1913); Collins, 259 U.S. at 316–17; Hooker v. Klein, 573 F.2d

   1360, 1368 (9th Cir. 1978); DeSilva, 125 F.3d at 1112)). Because Pres. Martinelli’s

   immunity defense is not an issue that this Court may consider in an extradition

   proceeding, we find that this argument lacks merit. See Matter of Extradition of

   Harusha, 2008 WL 1701428, at *5 (E.D. Mich. Apr. 9, 2008) (“[A]ffirmative

   defenses, including self-defense, are not relevant in extradition hearings and should

   not be considered.”) (citations omitted).

                                      3. Due Process

         Pres. Martinelli’s third argument is that there is no probable cause because

   Díaz has violated his due process rights through several misrepresentations.

   Rather than conceding that the MLM equipment was not used in the alleged

   wiretapping scheme, Pres. Martinelli contends that Díaz doubles down on his




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   previous lies by claiming that (1) the MLM equipment was capable of infiltrating

   and extracting content from cellular phones, and (2) that members of the National

   Security Council used MLM equipment to infiltrate and extract content from

   cellular phones.

         Pres. Martinelli argues that the deception by Díaz is not an arguable point

   because Panama’s own evidence purportedly proves that Díaz’s statements are lies.

   And the success of Panama’s embezzlement case hinges on Díaz.              So Pres.

   Martinelli accuses the DOJ in suborning this perjury and colluding with Díaz to

   violate Pres. Martinelli’s right to due process.21

         Yet, Pres. Martinelli’s argument is misdirected because due process is not

   violated “so long as the United States has not breached a specific promise to an

   accused regarding his or her extradition, and bases its extradition decisions on

   diplomatic considerations without regard to such constitutionally impermissible

   factors as race, color, sex, national origin, religion, or political beliefs, and in

   accordance with such other exceptional constitutional limitations as may exist

   because of particularly atrocious procedures or punishments employed by the foreign

   jurisdiction.” Matter of Extradition of Burt, 737 F.2d 1477, 1487 (7th Cir. 1984)

   (internal citations omitted).

         Moreover, “an accused in an extradition hearing has no right . . . to pose

   questions of credibility as in an ordinary trial, but only to offer evidence which

   explains or clarifies that proof.” Eain v. Wilkes, 641 F.2d 504, 511 (7th Cir. 1981)


         21   Díaz has also supposedly misrepresented the testimony of Francisco
   Sanchez Cardenas.


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   (citing Shapiro v. Ferrandina, 478 F.2d 894, 905 (2d Cir. 1973)); see also Austin v.

   Healey, 5 F.3d 598, 605 (2d Cir. 1993) (stating that respondent’s challenge to “the

   reliability and credibility of the evidence is misdirected”); Rodriguez Ortiz, 444 F.

   Supp. 2d at 891–93 (holding that the issue of inconsistencies in witness statements

   are “properly reserved for the eventual trial in Mexico”); Matter of Extradition of

   Solis, 402 F. Supp. 2d 1128, 1131 (C.D. Cal. 2005) (holding that respondent could

   not challenge the veracity or validity of a witness’s statement because “a fugitive in

   international extradition proceedings is not permitted to introduce evidence that

   contradicts the evidence submitted by the requesting country”); United States v.

   Peterka, 307 F. Supp. 2d 1344, 1349 (M.D. Fla. 2003) (at an extradition hearing,

   “the court shall exclude evidence that is proffered to . . . challenge the credibility of

   witnesses”); Matter of Extradition of Mainero, 990 F. Supp. 1208, 1218 (S.D. Cal.

   1997) (“Evidence that conflicts with that submitted on behalf of the demanding

   party is not permitted, nor is impeachment of the credibility of the demanding

   country's witnesses.”). “To do otherwise would convert the extradition into a full-

   scale trial, which it is not to be.” Eain, 641 F.2d at 511.

         Here, Díaz’s purported inconsistencies and lack of credibility may surely be a

   weakness in Panama’s case against Pres. Martinelli, but those possible deficiencies

   do not obliterate all evidence of probable cause.22       “When analyzing all of the



         22     Although Pres. Martinelli disputes that the MLM equipment was
   capable of intercepting information from cell phones, Díaz has offered evidence that
   he believes establishes that it did have such capabilities. Second Supp. Aff. of Harry
   Díaz, Exh. B, ¶¶8-12 (describing messages intercepted from Blackberry messenger
   and recorded phone conversations); Supp. Aff. of Harry Díaz, ¶¶24-25 (describing


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   evidence provided in support of probable cause, including the witness statements,

   the Court must apply a ‘totality of the circumstances analysis and make a practical,

   common sense decision whether, given all the circumstances, there is a fair

   probability that the defendant committed the crime.”’        Matter of Extradition of

   Garcia, 825 F. Supp. 2d 810, 838 (S.D. Tex. 2011) (citing Rodriguez Ortiz, 444 F.

   Supp. 2d at 884).   By employing that standard here, we do not pretend that there

   are no inconsistencies or doubts on how the MLM equipment was used and by

   whom, including information on the equipment’s technical specifications. Yet, there

   remains an indicia of reliability in this record that Pres. Martinelli may have

   committed the charged offenses given all of the evidence presented. And, in any

   event, Panama is not required to provide “an air-tight narrative of the events

   surrounding a crime,” because it “is not a precondition for granting extradition.”

   Rodriguez Ortiz, 444 F. Supp. 2d at 891–93.

         As such, we find that Pres. Martinelli’s accusations – that Díaz is a consistent

   liar and therefore a primary participant in the violation of Pres. Martinelli’s due

   process rights – is not enough to obliterate probable cause.23 See Shaw, 2015 WL

   3442022, at *8 (“Defendant has consistently attempted to contradict the case



   messages intercepted from Blackberry messenger and WhatsApp); see also, e.g.,
   Statement by Julio Martinez, Exh. 7 (RAMB001953) (describing how in September
   2010, prior to the installation of the NSO equipment, the witness was given a CD
   from Ronny Rodriguez containing a telephone interception of a call between
   politician Mitchel Doens and another person who were discussing a protest
   happening in Bocas del Toro).

         23       Pres. Martinelli is certainly entitled to challenge Díaz’s credibility or
   reliability before the Court in Panama.


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   brought against him in Thailand. He has continually sought to turn this limited

   extradition proceeding into a full trial in an effort to prove his asserted innocence.

   This the Defendant cannot do.”); Garcia, 825 F. Supp. 2d at 839 (“The Court finds

   that the witnesses’ statements, while subject to impeachment due to some

   inconsistencies, are sufficiently reliable to provide the requisite ‘any evidence’

   establishing probable cause to believe that Respondent committed the charged

   crime.”); Bovio, 989 F.2d at 259 (“[I]ssues of credibility are to be determined at trial)

   (citation omitted).

           As for Pres. Martinelli’s allegations of corruption in Panama, we are “bound

    by the existence of an extradition treaty to assume that the trial will be fair.”

    Glucksman, 221 U.S. at 512. This means that a claim of corruption in a foreign

    proceeding is not a valid defense to a finding of extraditability. See, e.g., Matter of

    Extradition of Cruz, 2016 WL 6248184, at *6 (N.D. Ill. Oct. 26, 2016) (disregarding

    fugitive’s argument that “he will not receive a fair trial in Mexico due to

    corruption that he says exists in the Mexican judiciary” because “[t]he Secretary of

    State decides whether Cruz Montes should be extradited,” and “[t]he Court

    expresses no opinion as to Cruz Montes’s concern that he will not receive a fair

    trial in Mexico.”); Matter of Extradition of Knotek, 2016 WL 4726537, at *5 (C.D.

    Cal. Sept. 8, 2016) (disregarding fugitive’s argument that the foreign prosecution

    was “tainted by corruption,” and noting that “[p]ursuant to the rule of non-inquiry,

    challenges to the legal processes and penal systems of a foreign country— such as a

    claim that a foreign country’s legal proceedings are corrupt—cannot be considered




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    by extradition courts”) (citing Matter of Extradition of Singh, 2005 WL 3030819, at

    *65 (E.D. Cal. Nov. 9, 2005) (“The rule [of non-inquiry] requires that extradition

    courts not undertake inquiries into the justice system of foreign countries . . . .”);

    Lopez-Smith v. Hood, 121 F.3d 1322, 1327 (9th Cir. 1997) (“[U]nder what is called

    the ‘rule of non-inquiry’ in extradition law, courts in this country refrain from

    examining the penal systems of requesting nations . . . .”); Matter of Requested

    Extradition of Smyth, 61 F.3d 711, 714 (9th Cir. 1995) (“Undergirding [the rule of

    non-inquiry] is the notion that courts are ill-equipped . . . and ill-advised . . . to

    make inquiries into and pronouncements about the workings of foreign countries’

    justice systems.”)); Ntakirutimana v. Reno, 184 F.3d 419, 430 (5th Cir. 1999)

    (refusing to consider fugitive’s claim that the foreign tribunal was unable to

    protect his due process rights).

          The rule of non-inquiry requires that any contention that the justice system

    of the requesting state is corrupt must be addressed by the Secretary of State, and

    not the federal courts. See, e.g., Hilton, 754 F.3d at 84-85 & 87 (rejecting fugitive’s

    argument that “the rule of non-inquiry has no application here,” and stating that

    the rule of non- inquiry “bars courts from evaluating the fairness and humaneness

    of another country’s criminal justice system, requiring deference to the Executive

    Branch on such matters”); Lopez-Smith, 121 F.3d at 1327 (“[U]nder what is called

    the ‘rule of non-inquiry’ in extradition law, courts in this country refrain from

    examining the penal systems of requesting nations, leaving to the Secretary of

    State determinations of whether the defendant is likely to be treated humanely”);




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    Koskotas, 931 F.2d at 174 (“Extradition proceedings are grounded in principles of

    international comity, which would be ill-served by requiring foreign governments

    to submit their purposes and procedures to the scrutiny of United States courts.”);

    Eain, 641 F.2d at 516-17 (discussing sole discretion of Secretary of State to

    establish “an American position on the honesty and integrity of a requesting foreign

    government”); Jhirad v. Ferrandina, 536 F.2d 478, 484-85 (2d Cir. 1976) (“It is not

    the business of our courts to assume the responsibility for supervising the integrity

    of the judicial system of another sovereign nation.”).

          Indeed, a determination that a foreign judicial system is plagued by

    corruption could have serious foreign relations implications. See United States v.

    Fernandez-Pertierra, 523 F. Supp. 1135, 1141-42 (S.D. Fla. 1981) (citing Dames &

    Moore v. Regan, 453 U.S. 654 (1981), and Haig v. Agee, 453 U.S. 280 (1981) (noting

    that a “long judicial tradition” supports a “general judicial policy of deference to

    the executive in the area of foreign relations”)). Considerations of the level of

    corruption by the requesting state hence fall within the exclusive jurisdiction of

    the Secretary of State.     This recognition comports with due process because

    “[f]undamental principles in our American democracy limit the role of courts in

    certain matters, out of deference to the powers allocated by the Constitution to the

    President and to the Senate, particularly in the areas of foreign relations.” United

    States v. Kin-Hong, 110 F.3d 103, 106 (1st Cir. 1997); see also Martin v. Warden,

    Atlanta Pen., 993 F.2d 824, 830 n.10 (11th Cir. 1993) (noting the viability of the

    rule of non-inquiry despite potential due process challenges).




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          The Court’s refusal to consider a claim of corruption is also appropriate

    because “comity considerations lurk beneath the surface of all extradition cases,”

    and courts “must take care to avoid ‘supervising the integrity of the judicial

    system of another sovereign nation’ because doing so ‘would directly conflict with

    the principle of comity upon which extradition is based.’” Martinez, 828 F.3d at

    463-64 (quoting Jhirad v. Ferrandina, 536 F.2d 478, 484–85 (2d Cir. 1976)). This

    is why, for example, an American citizen who commits a crime in Panama “cannot

    complain if required to submit to such modes of trial . . . as the laws of that

    country may prescribe for its own people.” Neely v. Henkel, 180 U.S. 109, 123

    (1901). It is also why “[w]e are bound by the existence of an extradition treaty to

    assume that the trial [that occurs after extradition is granted] will be fair.”

    Glucksman, 221 U.S. at 512. This reflects the reality that political actors, such as

    the Secretary of State, rather than judicial ones like Magistrate Judges, are best

    equipped to make the “sensitive foreign policy judgments” that Panama’s request

    demands. Hoxha v. Levi, 465 F.3d 554, 563 (3d Cir. 2006); see also Sandhu v.

    Burke, 2000 WL 191707, at *11-12 (S.D.N.Y. Feb. 10, 2000) (finding that

    extradition magistrate’s refusal to consider evidence of corruption in India that

    had allegedly resulted in the charging of individuals with crimes they had not

    committed, including a former judge’s conclusion that “‘almost 90% percent of the

    criminal cases launched against Sikh Youth were fabricated and trumped-up,’ and

    that [the fugitives] were implicated in one of those ‘false cases’” did not violate due

    process).   Therefore, we find that Pres. Martinelli’s repeated allegations of




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    corruption in Panama present no obstacle to this Court’s certification of

    extradition.

                             4. The Embezzlement Charges

         Pres. Martinelli’s next argument is that the evidence presented lacks

   probable cause to support the embezzlement charges in Panama. Specifically, Pres.

   Martinelli contends that the Government’s case with respect to the MLM equipment

   is a red herring. First, Pres. Martinelli argues that the last time that the MLM

   equipment was used or even seen was in 2011, before the relevant time period.

   Second, the MLM equipment was purportedly incapable of carrying out the kind of

   misuse and misappropriation that Panama has charged here, which is the unlawful

   use of surveillance to infiltrate cellular phones. Third, Pres. Martinelli believes

   that the Government has not even tried to prove that the MLM equipment was used

   unlawfully. The Government apparently did not, for example, seek confirmation

   that the National Security Council lacked judicial authorization to infiltrate certain

   computers. Rather, the Government purportedly focused solely on establishing the

   unlawful infiltration of cellular phones by requesting a letter from the clerk of court

   that confirmed that no judge had authorized anyone to wiretap certain phone

   numbers.    And fourth, the Government’s own investigation regarding the MLM

   equipment has allegedly resulted in prosecutors acknowledging that there was




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   insufficient evidence that Pres. Martinelli’s subordinates embezzled the MLM

   equipment.24

         As for the embezzlement charges in connection with the Pegasus equipment,

   Pres. Martinelli suggests that there are two fundamental obstacles to the

   Government’s ability to establish probable cause. First, under Panamanian law, a

   defendant allegedly must have custody over the embezzled asset.           [D.E. 58-6,

   Moreno Decl. (stating that a public servant “has to have under his authority or

   duties the administration, receipt, custody or responsibility of government assets”)].

   Pres. Martinelli argues that the Government has not produced an audit from the

   General Comptrollership of Panama establishing who had custody over the Pegasus

   equipment. In fact, Díaz has purportedly not stated an intention to introduce this

   type of document into evidence. Without the audit, Pres. Martinelli believes that it

   cannot be established that the item belonged to Panama, what the damages may be,

   and who is responsible for the property under Panamanian law. In sum, Pres.

   Martinelli argues that he cannot be charged with the crime of embezzlement for




         24     Pres. Martinelli points out that neither Rodriguez nor Pitti have had
   criminal charges brought against them, and that this demonstrates that the
   Government lacks probable cause in this case. But, it is by no means certain that
   the alleged deficiency in those cases is similarly a deficiency in the case against
   Pres. Martinelli. As the Eleventh Circuit has stated, consistent verdicts are not
   required for co-conspirators tried jointly because a conviction may be upheld “even
   where all but one of the charged conspirators are acquitted.” United States v.
   Andrews, 850 F.2d 1557, 1561 (11th Cir. 1988); see also United States v. Issa, 265 F.
   App’x 801, 808-09 (11th Cir. 2008) (affirming a conspiracy conviction where one
   other co-defendant was acquitted). Therefore, we find that this argument has no
   merit.


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   equipment for which he was not responsible and where it has not been proven that

   it belonged to the Panamanian state.

         Pres. Martinelli next contends that Panama cannot establish probable cause

   that he embezzled the Pegasus equipment with public funds, as charged in the

   indictment.25   In his affidavit, Pitti contrasted a printer with the Pegasus

   equipment by observing that the printer, unlike the Pegasus equipment, “could not

   be removed because it [unlike the Pegasus equipment] was included in the

   [government] inventory and paid for out of the NSC budget.” [D.E. 18-2]. Yet,

   when the current head of the National Security Council, Rolando López, filed a

   criminal complaint regarding the alleged embezzlement of this equipment, Pres.

   Martinelli stated that López offered no evidence that public funds were used.26

   [D.E. 54-3]. Instead, López suggested that a private company paid for the Pegasus

   equipment. Id. Therefore, unlike the many pages of evidence offered to prove that




         25      Pres. Martinelli accuses the Government of changing its position in the
   middle of these extradition proceedings because Díaz charged Pres. Martinelli with
   a specific kind of embezzlement, namely an embezzlement of property “derived from
   the State or public funds.” [D.E. 49-25]. As such, the Government is now allegedly
   attempting to establish probable cause that Pres. Martinelli embezzled another
   piece of equipment that was not bought with public funds and that this
   inconsistency is fatal to Panama’s probable cause argument.

         26     The criminal complaint contains a quotation attributed to a news
   report by La Prensa that “‘[a] company [Caribbean Holdings] linked to Aaron
   Mizrachi, brother-in-law of former president Ricardo Martinelli, paid the Israeli
   company NSO Group to purchase a sophisticated espionage equipment acquired by
   the last administration, which had disappeared . . . .’” [D.E. 54-3]. Yet, this
   evidence is hardly persuasive, and likely inadmissible in this extradition
   proceeding, because it merely contradicts the evidence submitted by Panama.


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   public funds were used to purchase the MLM equipment, Panama has apparently

   not produced any evidence for the embezzlement of the Pegasus equipment.

         Yet, we find that there is sufficient evidence in the record to establish

   probable cause that Pres. Martinelli committed both embezzlement offenses. The

   MLM audit establishes that the MLM equipment belonged to the Government of

   Panama and has since disappeared, and this fact, coupled with the circumstantial

   eivdence that the property was in Pres. Martinelli’s control and that he ordered that

   it be taken from the Government of Panama, establishes probable cause that Pres.

   Martinelli committed embezzlement by theft in violation of Article 338 of the

   Criminal Code.27   There is also sufficient evidence to suggest that the relevant

   equipment was used to conduct surveillance without judicial authorization, which

   together with the other evidence submitted by Panama, establishes probable cause

   that Pres. Martinelli committed embezzlement of use in violation of Article 341 of

   the Criminal Code.28

         Therefore, even if we accept Pres. Martinelli’s arguments, there is still

   probable cause of embezzlement by theft involving one surveillance system, and



         27     Article 338 of the Criminal Code of Panama (embezzlement by theft
   and misappropriation) provides: “A public officer who takes or embezzles in any
   way, or consents that somebody else appropriates, takes or embezzles any form of
   money, securities or property which administration, collection or custody have been
   entrusted by virtue of his position, shall be punished . . . .” (RAMB 000031).

         28      Article 341 of the same code (embezzlement of use) provides: “A public
   officer who, for purposes other than service, uses in his own or another’s benefit, or
   allows somebody else to use money, securities or property under his charge by
   reasons of his duties or which are in his custody, shall be punished . . . .” (RAMB
   000032).


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   probable cause of embezzlement of use involving the other.        And together, this

   provides enough evidence “sufficient to sustain the charge,” as required under the

   extradition statute. See 18 U.S.C. § 3184.

         Furthermore, to commit a violation of Article 338 of the Criminal Code of

   Panama, a public officer must have been “entrusted” by virtue of his position with

   the “administration, collection or custody” of property (RAMB000031), and to

   commit a violation of Article 341 of the Criminal Code of Panama, the property at

   issue must be “under [the public officer’s] charge by reason of his duties” or “in his

   custody” (RAMB000032). Contrary to Pres. Martinelli’s argument, nothing in either

   statute appears to create a requirement that the embezzled property must have

   been purchased with public funds. In fact, Díaz states in his supplemental affidavit

   that “it is not relevant for the purpose of committing Embezzlement by theft or use

   that the money, assets or goods are owned by the State or have been acquired with

   public funds.” Second Supp. Aff. of Harry Díaz, Exh. B, ¶20.

         Notwithstanding the evidence submitted in support of the finding that public

   funds are not required to commit embezzlement, Panama’s evidence suggests that

   both the MLM and the Pegasus equipment were purchased with public funds.

   Specifically, documents indicate that Panama paid MLM $13,475,000 for its system.

   See Audit Report Summary, Exh. 3 at 684 (RAMB000692); see also, e.g., Request of

   Banking Transfer, Exh. 4 at 1272 (RAMB001229) (showing December 10, 2010

   transfer of approximately USD $5.4 million as partial payment to MLM from the

   Ministry of the Presidential Office – Social Investment Fund); Request of Banking




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   Transfer, Exh. 5 at 1277 (RAMB001237) (showing August 10, 2010 transfer of

   approximately USD $3.3 million).

         As for the Pegasus equipment, a purchase agreement signed by the Director

   of the NSC, dated July 3, 2012, required that “the End User [the NSC] shall pay the

   Company [NSO] an aggregate amount of $US 6,000,000 [plus applicable taxes,

   tariffs, duties, and surcharges].” See Agreement Between NSO and the NSC, Exh. 2

   at 609 (RAMB000616).       And NSO later certified that it received $8,000,000

   pursuant to that agreement. See Letter from NSO to Government of Panama, Exh.

   2 at 607, (RAMB000614) (stating that NSO had “installed the Pegasus System

   [pursuant to a purchase agreement signed by the Director of the NSC] in Panama

   City after receiving money transfer of 8 million American Dollars, the first stage was

   6 million American Dollars and the second stage was additional 2 million American

   Dollars”).

         The evidence further suggests that the relevant equipment was within the

   custody of Pres. Martinelli because both sets of equipment were installed in the

   NSC’s Special Services office in Building 150. See, e.g., Statement of Elvys Moreno

   Murillo, Exh. 7 at 1855 (RAMB001817) (stating that “the [MLM] laptops were

   placed, printers, servers that were located on a black rack at a corner in the office

   [in Building 150]”); Pitti Aff. ¶ 8 (discussing installation by NSO personnel of

   surveillance equipment in Building 150).       Thus, it appears that both sets of

   equipment were intended to be used by the NSC. See NSO’s End Use/User

   Certificate, Exh. 2 at 614 (RAMB000621) (providing that NSO equipment was “for




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   the exclusive use of Panama’s government”); Agreement Between NSO and the

   NSC, Exh. 2 at 609 (RAMB000616) (providing that the NSC was the end user of the

   NSO equipment); Statement of Carlos Antonio Orillac Arias, Exh. 8 at 2176

   (RAMB002141) (indicating that the Director of the NSC signed the Final

   Acceptance Letter for the MLM equipment); Resolution No. 24-2015-DAF, Exh. 3 at

   829 (RAMB000777) (noting that the “destination” of the MLM equipment was the

   NSC).

           Pres. Martinelli allegedly controlled the NSC and conducted the surveillance

   conducted by the Special Services unit. And Díaz has stated that, to be guilty of

   embezzlement, pursuant to Article 43 of the Criminal Code, a defendant is culpable

   if he “‘performs, by himself or by proxy, the conduct described in the criminal

   conduct,’ that is, the offense.”29 Second Supp. Aff. of Harry Díaz, Exh. B, ¶29.

   Therefore, an individual may commit embezzlement “by proxy,” i.e., by directing

   another individual who has actual custody over certain property to embezzle it. Id.

   ¶¶ 29-31. Because Panama alleges that Pres. Martinelli committed embezzlement

   by proxy, and after analyzing the evidence in the record supporting that charge, we

   find that there is sufficient probable cause to warrant extradition.




           29    Díaz also states that a comptroller audit is not required to prove a
   violation of Article 338 or Article 341 in Panama; rather, other evidence may be used
   to demonstrate the defendant’s custody of the property at issue. See Second Supp.
   Aff. of Harry Díaz, Exh. B, ¶¶ 35-39. As such, the fact that Pres. Martinelli’s name
   does not appear in the audit of the MLM equipment conducted by the General
   Comptrollership of Panama, and that no such audit was conducted for the NSO
   equipment, does not weaken a finding of probable cause.


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          Moreover, the evidence suggests that Pres. Martinelli “t[ook] or embezzle[d]”

   the MLM and Pegasus equipment, as required under Article 338 of the Criminal

   Code. The MLM Audit report confirms that the MLM equipment disappeared. See

   May 4, 2015 Audit Report No. 03-003-2015-DIAF, Exh. 3 at 720-21 (RAMB000728-

   729). The MLM equipment included “servers that were located on a black rack,”

   Statement of Elvys Moreno Murillo, Exh. 7 at 1855 (RAMB001817), which multiple

   witnesses said was removed following the May 2014 elections and taken to Super

   99, see, e.g., Statement of Javier Antonio Quiroz Andreve, Exh. 7 at 1916-17

   (RAMB0001878-1879); Statement of Jubilo Antonio Graell de Gracia, Exh. 7 at

   1941-1942 (RAMB001905-1906); see also Pitti Aff. ¶ 47 (describing removal of the

   rack); Interview of Jubilo Antonio Graell, Exh. 7 at 1963 (RAMB001932) (describing

   the rack as “lost”).

          Specifically for the Pegasus equipment, witnesses testified that it was

   removed from Building 150. See Pitti Aff. ¶ 46; Interview of Jubilo Antonio Graell,

   Exh. 7 at 1975 (RAMB001944) (discussing removal of desktops).          And although

   some witnesses testified that the equipment was moved to a different government

   building, this does not weaken the alleged embezzlement offense because the

   evidence indicates that Panama never recovered the equipment. See Letter from

   NSO to Government of Panama, Exh. 2 at 607 (RAMB000614) (certifying that

   the last date of communication from its system in Panama was May 16, 2014).

          Finally, both sets of equipment satisfy the “use” requirement of Article 341 of

   the Criminal Code. In regard to the Pegasus equipment, the evidence demonstrates




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   it was used to intercept the communications of numerous individuals during the

   relevant time period. [D.E. 46]. As for the MLM equipment, there is a plethora of

   circumstantial evidence that supports the same conclusion. For example, there was

   a contract that had a four-year term beginning in 2010. Contract No. 045/2010,

   Exh. 4 (RAMB001200) (“The term of duration of this Contract shall be for a

   maximum period of four (4) years.”).30 It seems reasonable to infer that the MLM

   equipment, which cost millions of dollars to purchase, continued to be used for the

   duration of the contract through 2014, absent any indication to the contrary.31

         Regardless, additional evidence from several witnesses suggests that the

   MLM equipment was used to intercept their communications in 2012. See Supp.

   Aff. of Harry Díaz , DE 46-1, ¶¶24-25 (describing intercepted communications from

   early 2012); Statement of Gustavo Pérez, Exh. 8 at 2280 (RAMB002245); Pitti Aff.

   ¶¶21, 29 & 43; Statement of Rosendo Enrique Rivera Botello, Exh. 8 at 2469-70

   (RAMB002435-36); Statement of Mitchell Constantino Doens Ambrosio, Exh. 8 at

   2429 (RAMB002394); Statement of Erasmo Pinilla Castillero, Exh. 9 at 2577-79


         30  The evidence suggests that the MLM equipment was also used prior to
   2012. See, e.g., Statement of Elvys Moreno Murillo, Exh. 7 at 1852-55
   (RAMB001814-1817).

         31      The NSC did not execute its contract for the Pegasus equipment, and
   the related End Use/User Certificate, until July 3, 2012. See Agreement Between
   NSO and the NSC, Exh. 2 at 609 (RAMB000616); NSO’s End Use/User Certificate,
   Exh. 2 at 615 (RAMB000622). According to Pitti, in order for the Pegasus
   equipment to operate, fifteen-megabyte broadband internet service had to be
   installed, Pitti Aff. ¶ 7; and the internet service was not installed until June 1, 2012,
   see id. (describing that internet service was obtained from “Liberty Technology”);
   Liberty Technologies Contract of Services dated June 1, 2012 (RAMB000278). As
   such, this constitutes additional circumstantial evidence that that MLM equipment
   was, in fact, used in 2012.


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   (RAMB002545-47).      For instance, Díaz points out that Ronny Rodriguez was

   emailed some of the communications well before the June 2012 installation of the

   fifteen-megabyte broadband service necessary to power the Pegasus system. See

   Second Supp. Aff. of Harry Diaz, Exh. B, ¶¶ 8-12. And although Pres. Martinelli

   contends that these types of communications could have been easily captured after-

   the-fact using the Pegasus equipment, the evidence suggests that only the MLM

   equipment could have been used to allow Pres. Martinelli to receive daily

   summaries of intercepted information and to be able to react in real time. This is

   particularly true because the Pegasus equipment was likely not yet operational.

   Therefore, there is sufficient circumstantial evidence in the record to find probable

   cause that the Pres. Martinelli embezzled the MLM and Pegasus equipment.

         Finally, we reiterate that “competent evidence to establish reasonable

   grounds is not necessarily evidence competent to convict.” Fernandez, 268 U.S. at

   312. Given the holes in the case, it is certainly plausible that Panama’s charges will

   be dismissed or rejected at trial in Panama. As is often the case, allegations of

   public corruption are difficult to prove for many reasons, not the least of which is

   the claim of a political “witch hunt” that is not unique to Panama. But those claims

   and defenses are properly presented to the court of law that has jurisdiction over

   the dispute. In this case, that lies in Panama.

                               5. The Surveillance Charges

         Pres. Martinelli’s final argument is that Panama cannot establish probable

   cause to support the surveillance charges because of the tenuous link between the




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   purported crimes and Pitti’s affidavit, which should allegedly be discredited.

   Alternatively, even if we were to accept all of Panama’s evidence, Pres. Martinelli

   contends that there is no evidence that he knew that the National Security Council

   had not obtained the requisite judicial authorizations for the alleged wiretapping.

   Because both of these deficiencies are purportedly fatal, Pres. Martinelli surmises

   that we should find that there is no probable cause to support the Government’s

   extradition request in connection with these alleged surveillance crimes.

         In particular, Pres. Martinelli first argues that Panama’s case hinges on

   whether he ordered members of his National Security Council to conduct unlawful

   wiretapping.   Pitti allegedly remains the only witness who testified that Pres.

   Martinelli through Ronny Rodríguez, selected the targets, ordered the wiretapping,

   and received the illicit results from the surveillance. And while the Government

   has purportedly tried to corroborate Pitti’s testimony, Pres. Martinelli believes that

   there is not a single argument that substantiates a key allegation – namely, that

   Pres. Martinelli ordered members of the National Security Council to conduct

   unlawful surveillance. For example, Pres. Martinelli contends that Panama has

   discussed the alleged 2010 wiretapping of a person named Mitchell Constantino

   Doens Abrosio. The wiretapping supposedly captured a conversation that Doens

   had about events involving the Ngabe Bugle tribe. Yet, Pres. Martinelli believes

   that the wiretapping did not occur during the charged time period (2012 to 2014)

   and pre-dated both the MLM equipment and the Pegasus equipment. As such,




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   there is allegedly no evidence that President Martinelli directed this alleged

   wiretapping or that it was unauthorized.

         In Pres. Martinelli’s view, the Pitti affidavit is the only glue that establishes

   Panama’s argument for probable cause, but the Court should supposedly not credit

   Pitti’s affidavit for several reasons. As one primary example, in his affidavit Pitti

   purportedly attempts to suggest that he was present and participated in the alleged

   removal of computer equipment and the so-called “rack” from the National Security

   Council. See Pitti Aff. at ¶¶46-47 [D.E. 18-2]. Yet, according to multiple witnesses,

   Pitti had already been transferred to a different province. See Testimony of Júbilo

   Antonio Graell de Gracia, RAMB001934-1947, at RAMB001944 (Aug. 25, 2015)

   [D.E. 49-21, *12 (noting that, at the time he and others moved the equipment,

   “Ismael (Brad) has [sic] already been transferred to Chiriqui”)]; Testimony of Julio

   Palacios Martínez, RAMB001960-72 at RAMB01970 (Aug. 27, 2015) [D.E. 49-22,

   *12 (same)]; Testimony of Vildia del Carmen Torres Potes, RAMB002045-2057, at

   RAMB002051 (Sept. 1, 2015) [D.E. 49-24, *8 (same)]. Accordingly, Pres. Martinelli

   concludes that Panama’s own evidence contradicts Pitti’s affidavit, and that Pitti’s

   affidavit is both inherently reliable and contains unsourced allegations.

         Pres. Martinelli equates Pitti’s affidavit to the same scenario at issue in In re

   Mazur, 2007 WL 2122401 (N.D. Ill. July 2, 2007), where a foreign country’s case

   depended on a witness whose testimony was inconsistent on key details and

   contradicted by other witnesses. Pres. Martinelli claims that the court found an

   absence of probable cause because the foreign country’s evidence “though seemingly




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   damning on its face, on close scrutiny, turned out to be so internally inconsistent, so

   patently unreliable, that it obliterated, all on its own, any semblance of probable

   cause.” Id. Like In re Mazur, we should find that Pitti’s testimony is riddled with

   material inconsistencies, falsehoods, and unsourced and unreliable allegations.

   Therefore, Pres. Martinelli urges the Court to not credit Pitti’s testimony and find

   that the surveillance charges lack probable cause.

          Second, Pres. Martinelli argues that, even if the Court credits all of Panama’s

   evidence, there is still an absence of sufficient evidence regarding a key element on

   whether Pres. Martinelli knew that the alleged wiretapping was done without

   judicial authorization. Under Panamanian law, Pres. Martinelli contends that the

   requisite level of intent requires something akin to specific intent or a knowing

   violation for the alleged surveillance crimes. See Roberto J. Moreno’s Decl. (Aug.

   11, 2017) (“[C]riminal intent, in other words personal behavior plus the subjective

   knowledge that the act carried out is unlawful”); see also, Díaz Indictment at

   RAMB000073 [D.E. 49-25, *3 (alleging that the “officers of the National Security

   Council . . . were fully aware of the illegality of these [surveillance] activities”)].

          The Government has purportedly not established probable cause regarding

   this critical element. See Moreno Decl. (“[I]f only one element is missing . . . the

   crime cannot be consummated”). In fact, the Government has allegedly highlighted

   some evidence that indicates that President Martinelli would have had no reason to

   suspect that the National Security Council members were not getting the requisite

   judicial authorizations.    For instance, in the addendum on probable cause, the




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   Government     supposedly   notes   that   Rodríguez   delivered   lawfully   obtained

   surveillance results to President Martinelli at the same time as the purported

   unlawfully obtained surveillance results. See Summary Chart For Probable Cause

   [D.E. 46-4]; Pitti Aff. at ¶ 26 [D.E. 18-2]. These results were apparently presented

   in the same envelope. Id. And the Government has allegedly offered no evidence

   that would allow this Court to distinguish between President Martinelli’s

   involvement in legal wiretapping with his purported involvement in illegal

   wiretapping.

         Therefore, Pres. Martinelli contends that the Government cannot ask this

   Court to draw any inferences regarding President Martinelli’s knowledge of

   illegality. In sum, “[t]he basic problem with the government’s case is that it ignores

   the intent element.” In re Petition of France for the Extradition of Sauvage, 819 F.

   Supp. 896, 904 (S.D. Cal. 1993).

         After conducting our own objective review of the evidence, we find to the

   contrary on both points. First, the Government has shown that knowledge is not an

   element of wiretapping offenses under Panamanian law. See Second Supp. Aff. of

   Harry Díaz, Exhibit B, ¶18 (stating that “the prosecution does not have to prove

   that Mr. Martinelli Berrocal had no knowledge that the activities that were

   reported to him were executed without judicial authorization”).          While Pres.

   Martinelli believes that this interpretation is wrong, we decline the opportunity to

   opine on the complexities of Panamanian privacy law. In the face of competing




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   interpretations of foreign law, we defer to the State Department and Panama, as we

   have no basis to credit Moreno’s declaration over Díaz’s.

         “In other words, the type of conclusion which [Pres. Martinelli] asks this

   Court to make here would require a weighing of evidence and a selection of one

   version over another version,” but “[t]his type of evidence evaluation is precisely

   what this Court cannot do in an extradition hearing.” In re Extradition of Nunez-

   Garrido, 829 F. Supp. 2d at 1294 (citing Bovio, 989 F.2d at 259–261 (evaluating

   accused’s challenge to extradition request from Sweden, rejecting his challenge that

   the investigator’s statements were made five years after the investigation and that

   there was no record of original witness interviews and concluding that the

   defendant “has no right to attack the credibility” of either of the two witnesses “at

   this stage of the proceedings” because “issues of credibility are to be determined at

   trial”)); see also Barapind v. Enomoto, 400 F.3d 744, 750 (9th Cir. 2005)

   (“[E]xtradition courts do not weigh conflicting evidence in making their probable

   cause determinations”) (citation and quotation marks omitted).

         Second, we do not find that Pitti’s affidavit is so patently unreliable that it

   obliterates a finding of probable cause.32 To the contrary, Pitti’s affidavit appears to




         32     Pres. Martinelli’s reliance on In re Mazur is also unpersuasive because
   the issue in that case was whether abstracts from fourteen separate statements
   contained multiple material inconsistencies (including who participated in a
   meeting held to plan a murder, whether there was any subsequent meeting, and
   who ultimately hired the hit man), all of which were given by one witness who later
   admitted that he had lied under oath and had fabricated at least part of his story.
   See In re Mazur, 2007 WL 2122401, at *20-22 (finding that the statements
   contained “so many inconsistencies that it is difficult to image that the government


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   be corroborated by other evidence in the record.       For example, Ortiz Gonzalez

   testified that “Ronny said that he reported directly to the President Ricardo

   Martinelli,” and that Ronny “met privately with Ricardo Martinelli and he was

   receiving instructions directly from Mr. President.” Id. (RAMB001793). Similarly,

   an Intelligence Officer for the NSC, Jubilo Antonio Graell, avers that Ronny

   instructed him on several occasions to conduct surveillance on certain individuals,

   and that “Ronny told us that that information is needed by number one (1) [whom

   Graell made clear] is the President of the Republic. See Interview of Jubilo Antonio

   Graell, Exh. 7 at 1978-79 & 1982 (RAMB001942-1943 &-1946). The surveillance

   was conducted solely by the NSC, over which Martinelli Berrocal had effective

   control. [D.E. 46, at 3-4].

          We also find Pres. Martinelli’s challenge unpersuasive because any

   inconsistencies between Pitti’s affidavit and other evidence submitted by Panama is

   not enough to bar Pres. Martinelli’s extradition. For instance, a failure by Pitti to

   source all of his allegations, and a reliance on hearsay or uncorroborated evidence,

   is insufficient to defeat probable cause. With respect to the argument that Pitti

   should have sourced allegations, we find no authority for the this requirement,

   especially in light of the principle that a ““country seeking extradition is not

   required to produce all its evidence at an extradition hearing,” and that a full trial

   and determination of guilt will occur in the requesting country. Quinn, 783 F.2d at

   815.


   that they could give rise to probable cause”). When compared to the facts of this
   case, In re Mazur is noticeably distinguishable.


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         As touched upon earlier, numerous courts have found that probable cause

   exists despite allegations of inconsistencies in the evidence submitted by the

   requesting country.     The reason inconsistencies do not regularly defeat an

   extradition request is because courts “must accept as true all of the statements and

   offers of proof by the demanding state,” reserving the weighing of evidence and

   making of credibility determinations for the courts in the requesting country—

   which is where the determination of guilt will be made. Schmeer v. Warden of

   Santa Rosa Cty. Jail, 2014 WL 5430310, at *4 (N.D. Fla. Oct. 22, 2014) (citation and

   internal quotation marks omitted); see also, e.g., Collins, 259 U.S. at 316; Quinn,

   783 F.2d at 791; Ahmad, 726 F. Supp. at 399-400 (“The primary source of evidence

   for the probable cause determination is the extradition request, and any evidence

   submitted in it is deemed truthful for purposes of this determination.”) (quotation

   omitted). Therefore, we find that probable cause exists even when the requesting

   country’s documents contain inconsistencies and discrepancies because this fact is

   “of no consequence if there exists in those documents ‘any’ other sufficient

   competent evidence” to establish probable cause. United States ex rel. Sakaguchi v.

   Kaulukukui, 520 F.2d 726, 728 (9th Cir. 1975).

         Furthermore, a court may fairly infer sources of information by reference to

   the language of an affidavit. See, e.g., United States v. Summage, 481 F.3d 1075,

   1077-78 (8th Cir. 2007) (finding that a reference in an affidavit to was sufficient to

   infer the source of information); United States v. Colbert, 605 F.3d 573, 576 (8th Cir.

   2010) (even though affidavit was not explicit about the source of information, it




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   “supported a fair inference that the police officers were the source”). In the case of

   Pitti’s affidavit, the Court may infer that Pitti is offering information based upon

   his personal knowledge or from his conversations from others such as Ronny

   Rodriguez. Accordingly, any lack of explicit sourcing does not prevent this Court

   from relying upon Pitti’s affidavit.

         The Seventh Circuit’s decision in Bovio v. United States is also instructive

   because the extradition judge in that case found that probable cause existed based

   solely upon the affidavit of a Swedish investigator.    See Bovio, 989 F.2d at 258.

   The extraditee contested the district court’s finding in the Seventh Circuit, and made

   four arguments in support:

         (1) [the investigator’s] statements do not indicate how he obtained the
         information on which the statements are based, whether witnesses were
         under oath, and whether there are any original notes or recordings of
         witness interviews; (2) all the evidence implicating Bovio is hearsay; (3)
         there is no physical evidence implicating Bovio; and (4) the major
         witness relied upon by the Swedish government, Perttunen, has
         admitted lying during the investigation, and there is otherwise no
         corroboration of her account.

   Id. at 259.   The Seventh Circuit rejected all of these arguments, noting that a

   extraditee has “no right to attack the credibility” of witnesses in an extradition

   hearing, as “issues of credibility are to be determined at trial,” and that “hearsay

   testimony is often used in extradition hearings.” Id. at 259-60 (citing Collins, 259

   U.S. at 317 and FED. R. CRIM. P. 5.1(a) (“The finding of probable cause [at a

   preliminary examination] may be based upon hearsay evidence in whole or in

   part.”). The same conclusion can be drawn here.




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         As for Pres. Martinelli’s argument about the dangers of multiple hearsay,

   courts have often relied on these statements in making probable cause findings and

   have rejected challenges to the reliability of such evidence. See, e.g., Afanasjev, 418

   F.3d at 1166 n.13 (upholding a probable cause finding based on hearsay; and

   discussing Zanazanian v. United States, 729 F.2d 624, 625-27 (9th Cir. 1984), where

   the Ninth Circuit rejected a extraditee’s argument that “multiple hearsay does not

   constitute competent evidence”); Escobedo v. United States, 623 F.2d 1098, 1102 n.10

   & 1103 (5th Cir. 1980) (upholding magistrate’s finding of probable cause, and

   rejecting fugitive’s argument that evidence submitted by the requesting state

   “constitutes compound hearsay and is untrustworthy”); Matter of Extradition of

   Jarsosz, 800 F. Supp. 2d 935, 947 n.4 (N.D. Ill. 2011) (“In extradition cases, the

   hearsay exists on at least two levels. First, is the statement of the absent declarant

   who prepared and submits the witness summaries. The second level is comprised of

   the hearsay statements of the witnesses to the prosecutor or police officer. There

   can even be three or more levels of hearsay. For example, a witness may recount

   statements made by another witness, which are then recounted to the declarant

   who prepares the summaries used in the extradition hearing.”); Matter of

   Extradition of Chan Hon-Ming, 2006 WL 3518239, at *8 (E.D.N.Y. Dec. 6, 2006)

   (noting that “[i]t is well established that hearsay evidence, including multiple

   hearsay and the unsworn statements of absent witnesses, is admissible at

   extradition hearings and may support a finding of extraditability”); Matter of the

   Extradition of Marzook, 924 F. Supp. 565, 592 (S.D.N.Y. 1996) (finding probable




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   cause that fugitive committed crimes in Israel despite his argument that the

   extradition complaint was based “purely upon multiple hearsay”).33

         In sum, after careful review of the evidence in the record, we are duty bound

   to find that the extradition request submitted by Panama satisfies all of the

   statutory requirements of 18 U.S.C. § 3184 and that there is sufficient evidence to

   establish probable cause for all of the charges brought against Pres. Martinelli. In

   drawing this conclusion, we find only that there are reasonable grounds to suppose

   him guilty of all or some of the offenses charged. As a result, “good faith to the

   demanding government [in Panama] requires his surrender.” Glucksman, 221 U.S.

   at 512.

                                III.   CONCLUSION

         For the foregoing reasons, it is hereby ORDERED AND ADJUDGED that

   the Government’s motion [D.E. 46] for an order certifying the extradition of Pres.

   Martinelli is GRANTED and that a certified copy of this Order, together with a

   copy of all the testimony and evidence taken before the undersigned, be forwarded

   without delay by the Clerk of the Court to the Secretary of State to the attention of

   the Office of the Legal Adviser. Pres. Martinelli shall be committed to the custody

   of the United States Marshal for this District, to be held at the Federal Detention

   Center, Miami, Florida, or another suitable facility, pending final disposition of this




         33     We add that under U.S. law, there is also no rule that multiple hearsay
   is “per se unreliable.” See, e.g., United States v. Crawford, 734 F.3d 339, 342 (4th
   Cir. 2013). We should not hold Panama to a greater standard in the extradition
   context.


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   matter by the Secretary of State to the designated agents of the Government of

   Panama.

         For all other purposes, this action is now CLOSED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 31st day of

   August, 2017.


                                               EDWIN G. TORRES
                                               United States Magistrate Judge




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